                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 1 of 48




                                     1   SPENCER HOSIE (CA Bar No. 101777)                      REDACTED VERSION OF
                                         shosie@hosielaw.com                                     DOCUMENT(S) SOUGHT
                                     2   DIANE S. RICE (CA Bar No. 118303)                             TO BE SEALED
                                     3   drice@hosielaw.com
                                         DARRELL R. ATKINSON (CA Bar No.
                                     4   280564)
                                         datkinson@hosielaw.com
                                     5   HOSIE RICE LLP
                                         600 Montgomery Street, 34th Floor
                                     6
                                         San Francisco, CA 94111
                                     7   (415) 247-6000 Tel.
                                         (415) 247-6001 Fax
                                     8
                                         LESLIE V. PAYNE (admitted pro hac vice)
                                     9   lpayne@hpcllp.com
                                    10   ALDEN G. HARRIS (admitted pro hac vice)
                                         aharris@hpcllp.com
                                    11   HEIM, PAYNE & CHORUSH, LLP
                                         1111 Bagby St., Ste. 2100
                                    12   Houston, Texas 77002
                                         (713) 221-2000 Tel.
                                    13   (713) 221-2021 Fax
                                    14
                                         Attorneys for Plaintiff
                                    15   MASTEROBJECTS, INC.
                                    16
600 Montgomery Street, 34th Floor




                                                                 UNITED STATES DISTRICT COURT
    San Francisco, CA 94111




                                    17
                                                               NORTHERN DISTRICT OF CALIFORNIA
         Hosie Rice LLP




                                    18                              SAN FRANCISCO DIVISION
                                    19
                                         MASTEROBJECTS, INC.,                      Case No. 5:20-cv-08103-WHA (KAW)
                                    20
                                                          Plaintiff,               SECOND AMENDED COMPLAINT
                                    21          v.                                 FOR PATENT INFRINGEMENT
                                    22                                             Judge: Hon. William Alsup
                                         AMAZON.COM, INC.,
                                                                                   Complaint Filed: May 5, 2020
                                    23                                             Trial Date: May 9, 2022
                                                          Defendant.
                                    24                                             JURY TRIAL DEMANDED
                                    25
                                    26
                                    27
                                    28




                                         SECOND AMENDED COMPLAINT                          CASE NO. 5:20-CV-08103-WHA (KAW)
                                          Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 2 of 48




                                     1           MasterObjects, Inc. (“MasterObjects” or “Plaintiff”) hereby files its second amended
                                     2   complaint against Amazon.com, Inc. (“Amazon” or “Defendant”). For its complaint,
                                     3   MasterObjects alleges on personal knowledge as to its own acts and on information and belief as
                                     4   to all other matters, as follows:
                                     5
                                                      I.    NATURE OF THE ACTION.
                                     6
                                     7          1.         This complaint asserts causes of action for patent infringement under the Patent

                                     8   Act, 35 U.S.C. §§ 1 et. seq., including § 271.
                                     9
                                                     II.    PARTIES.
                                    10
                                    11          2.         MasterObjects is a corporation organized under the laws of the State of Delaware,

                                    12   with its principal place of business in the Netherlands.
                                    13          3.         Amazon.com, Inc. is a corporation organized under the laws of the State of
                                    14
                                         Delaware, with its principal place of business in Seattle, Washington.
                                    15
                                    16              III.    JURISDICTION AND VENUE.
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17
                                                4.         This Court has subject matter jurisdiction over this matter by virtue of 28 U.S.C. §
         Hosie Rice LLP




                                    18
                                         1338(a).
                                    19
                                                5.         This action was transferred to this District at Amazon’s request. See ECF 82.
                                    20
                                    21   Amazon consented to personal jurisdiction and venue in this District through its motion to transfer

                                    22   this action to this District. See ECF 63, 66 & 71; see also ECF 109 (“The Parties do not dispute
                                    23   personal jurisdiction”).
                                    24
                                                    IV.     BACKGROUND.
                                    25
                                    26                          A. The Plaintiff MasterObjects and its Search Technology.
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                    -1-                 CASE NO. 5:20-CV-08103-WHA (KAW)
                                          Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 3 of 48




                                     1           6.      From the earliest days of Internet search, the search process has been hampered by
                                     2   what is known as the “request-response loop.” The user would type a query into a static input
                                     3
                                         field, click a “submit” or “search” button, wait for the query to be sent to a remote database, wait
                                     4
                                         for the result set to be returned to the server, wait for the server to build an HTML page, wait for
                                     5
                                     6   the page to load into the browser, and then wait for the client window to be redrawn so that the

                                     7   result set could be viewed.     Inherent in the “request-response loop” is the pragmatic reality that,
                                     8   if the result set did not match user expectations, the entire process had to be repeated, iteratively,
                                     9
                                         until the results satisfied the user.
                                    10
                                                 7.      Plaintiff MasterObjects is a software company founded by Mark Smit. Mr. Smit is
                                    11
                                    12   a named inventor of each of the patents asserted here. In 1999 and 2000, Mr. Smit was a young

                                    13   computer scientist working on relational databases and complex document search and retrieval

                                    14   issues for a technology company near Amsterdam. He found the technology frustrating and slow,
                                    15
                                         and thought he could do better. Accordingly, he left his job and put his life savings in a new
                                    16
600 Montgomery Street, 34th Floor




                                         company founded to develop better computer search technology.               He called the company
    San Francisco, CA 94111




                                    17
                                         MasterObjects.
         Hosie Rice LLP




                                    18
                                    19           8.      By the early Fall of 2000, Mr. Smit had conceived of a new computer search

                                    20   paradigm. He created a way to have instant search results provided as the user typed in characters
                                    21
                                         in a search request. Mr. Smit’s technique uses asynchronous communications between the user’s
                                    22
                                         computer and the server performing the search. In the old search model, the communication was
                                    23
                                         “synchronous,” i.e., the server would sit idle until the user hit submit, whereupon the server would
                                    24
                                    25   do its work, and then return the information to the client. As the client worked, the server waited;

                                    26   as the server communicated, the client waited.
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                    -2-                 CASE NO. 5:20-CV-08103-WHA (KAW)
                                          Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 4 of 48




                                     1          9.      To break this “request-response loop,” Mr. Smit understood that he needed a new
                                     2   way to communicate that was asynchronous, i.e., the client and the server could talk to each other
                                     3
                                         within a session in a non-blocking way.        In other words, the server and the client could
                                     4
                                         communicate at the same time rather than the server waiting until the client finished and vice versa.
                                     5
                                     6          10.     Mr. Smit also envisioned that the servers would store common prior search queries

                                     7   and related results. Storing this information, along with the asynchronous communication,
                                     8   allowed the computer system to quickly associate a few characters of a new request with a pre-
                                     9
                                         existing model of the same request and results thereto, and provide suggested results right away.
                                    10
                                         For example, as a user searching for information about an indoor arena in Manhattan types, “mad”
                                    11
                                    12   becomes “madi,” then later “madison sq,” and then out pops search results for “madison square

                                    13   garden.” As the user types in a query, the server provides increasingly relevant and responsive

                                    14   information (e.g., information relating to Mad Magazine, then James Madison, then Madison
                                    15
                                         Square Garden). These inventive techniques provide useful search results much faster and more
                                    16
600 Montgomery Street, 34th Floor




                                         efficiently than prior computer systems, improving computer system functionality, and thereby
    San Francisco, CA 94111




                                    17
                                         providing a sophisticated digital search platform.
         Hosie Rice LLP




                                    18
                                    19          11.     The patents asserted in this lawsuit embody Mr. Smit’s inventions. The claimed

                                    20   features are not merely well-understood, routine, and conventional computer functions; rather they
                                    21
                                         are novel and distinct improvements on the prior approaches known in the art. These novel
                                    22
                                         claimed features improve the functioning of the computer system that implements them. For
                                    23
                                         example, the asynchronous communication feature improves the operation of both the client
                                    24
                                    25   computer and the server by allowing the two to communicate at the same time, thereby reducing

                                    26   latency and improving the timeliness of results. As another example, storing prior search queries
                                    27
                                         and related results improves the operation of both the client computer and the server system by
                                    28
                                          SECOND AMENDED COMPLAINT                  -3-                  CASE NO. 5:20-CV-08103-WHA (KAW)
                                          Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 5 of 48




                                     1   enabling common search requests and results to be retrieved quickly while utilizing fewer system
                                     2   resources to accomplish this task. As another example, displaying relevant search results in real
                                     3
                                         time (e.g., while the user is entering the query) improves the operation of the client computer by
                                     4
                                         enabling it to provide more accurate and timely results to users while bypassing the slow and
                                     5
                                     6   frustrating “request-response loop” common in prior systems.

                                     7                       B. The Patents-In-Suit.
                                     8
                                                12.     The patents asserted here are MasterObjects’: (1) U.S. Patent No. 8,539,024 (the
                                     9
                                    10   “’024 Patent”), entitled “System and Method for Asynchronous Client Server Session

                                    11   Communication;” (2) United States Patent No. 9,760,628 (the “’628 Patent”), entitled “System
                                    12   and Method for Asynchronous Client Server Session Communication;” (3) United States Patent
                                    13
                                         No. 10,311,073 (the “’073 Patent”), entitled “System and Method for Asynchronous Retrieval of
                                    14
                                         Information From a Server to a Client Based On Incremental User Input;” and (4) United States
                                    15
                                    16   Patent No. 10,394,866 (the “’866 Patent”), entitled “System and Method for Asynchronous Client
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17   Server Session Communication,” collectively, the “Patents-in-Suit.”
         Hosie Rice LLP




                                    18          13.     Each of the Patents-in-Suit have been assigned to MasterObjects.          Plaintiff
                                    19
                                         MasterObjects is the sole legal and rightful owner of each of the Patents-in-Suit.
                                    20
                                                14.     The ’024 Patent was duly and legally issued on September 17, 2013. A true and
                                    21
                                    22   correct copy of the ’024 Patent is attached as Exhibit A. The ’024 Patent covers sending a full

                                    23   input string. Under Claim 1, for example, a client object sends query messages to the server

                                    24   system, with the term “query messages” representing the lengthening string of characters. See
                                    25
                                         Claim 1, ’024 Patent (“a server system, including one or more computers, which is configured to
                                    26
                                         receive query messages from a client object . . . whereby the query messages represent the
                                    27
                                         lengthening string …”).
                                    28
                                          SECOND AMENDED COMPLAINT                  -4-                 CASE NO. 5:20-CV-08103-WHA (KAW)
                                          Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 6 of 48




                                     1          15.     The ’024 Patent has been the subject of other proceedings, including
                                     2   MasterObjects, Inc. v. Google Inc., No. 4:15-cv-01775-PJH (N.D. Cal.), MasterObjects, Inc. v.
                                     3
                                         Yahoo! Inc., No. 3:13-cv-04326-JSW (N.D. Cal.), MasterObjects, Inc. v. eBay Inc., No. 4:16-cv-
                                     4
                                         06824-JSW (N.D. Cal.), MasterObjects, Inc. v. Facebook, Inc., No. 6:20-cv-00087 (W.D. Tex.)
                                     5
                                     6   (the “Facebook matter”), and eBay Inc. v. MasterObjects, Inc., IPR2017-00740 (Pat. Trial & App.

                                     7   Board) (the “eBay IPR”).
                                     8          16.     The eBay IPR was an inter partes review involving ’024 Patent claims 1-3, 6-7, 9,
                                     9
                                         12, 15-17, 21, 24-26, and 32-37. All of the ’024 Patent’s independent claims were involved claims.
                                    10
                                         The Patent Trial and Appeal Board (“PTAB”) issued a Final Written Decision finding all of the
                                    11
                                    12   involved claims patentable. A true and correct copy of the Final Written Decision is attached as

                                    13   Exhibit B. The PTAB found that Kravets (U.S. Patent No. 6,704,727) did not anticipate the

                                    14   involved claims; that the involved claims were non-obvious over Kravets; and that the involved
                                    15
                                         claims were non-obvious over the combination of Kravets and Bauer (U.S. Patent No. 6,751,603).
                                    16
600 Montgomery Street, 34th Floor




                                         The PTAB found that the ’024 Patent’s independent claims recite specific “usability test[s],” and
    San Francisco, CA 94111




                                    17
                                         that Kravets does not disclose or teach the claimed tests.
         Hosie Rice LLP




                                    18
                                    19          17.     eBay Inc. appealed the Final Written Decision to the Federal Circuit. The parties

                                    20   to the eBay IPR jointly moved to voluntarily dismiss the appeal. The Federal Circuit dismissed
                                    21
                                         the appeal. An inter partes review certificate issued on June 11, 2019. The IPR certificate
                                    22
                                         confirmed the patentability of the involved ’024 Patent claims
                                    23
                                                18.     The ’628 Patent was duly and legally issued on September 12, 2017. A true and
                                    24
                                    25   correct copy of the ’628 Patent is attached as Exhibit C.

                                    26          19.     The ’073 Patent was duly and legally issued on June 4, 2019. A true and correct
                                    27
                                         copy of the ’073 Patent is attached as Exhibit D. On December 6, 2019, MasterObjects filed a
                                    28
                                          SECOND AMENDED COMPLAINT                  -5-                CASE NO. 5:20-CV-08103-WHA (KAW)
                                          Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 7 of 48




                                     1   Petition to Correct Priority Under 37 CFR § 1.78(e) relating to the ’073 Patent. See Exhibit E. On
                                     2   February 14, 2020, MasterObjects filed a Petition Under 37 CFR §1.1182 for Expedited Handling
                                     3
                                         of its 37 CFR § 1.78(e) Petition. The Patent and Trademark Office (“P.T.O.”) granted both
                                     4
                                         petitions on February 25, 2020. See Exhibit F.
                                     5
                                     6          20.     After the initiation of this action, a petition for inter partes review of claims 1, 2

                                     7   and 4-12 of the ’073 Patent was filed by Unified Patents, LLC. This inter partes review proceeding
                                     8   was styled United Patents, LLC v. MasterObjects, Inc., IPR2020-01201 (Pat. Trial & App. Board)
                                     9
                                         (the “Unified IPR”). On January 11, 2021, the PTAB denied institution of the Unified IPR. See
                                    10
                                         Exhibit G (“Unified IPR Decision”).
                                    11
                                    12          21.     The ’866 Patent was duly and legally issued on August 27, 2019. A true and correct

                                    13   copy of the ’866 Patent is attached as Exhibit H. On December 6, 2019, MasterObjects filed a 37

                                    14   CFR § 1.78(e) Petition to Correct Priority Under 37 CFR § 1.78(e) relating to the ’866 Patent. See
                                    15
                                         Exhibit I. On February 14, 2020, MasterObjects filed a Petition Under 37 CFR §1.1182 for
                                    16
600 Montgomery Street, 34th Floor




                                         Expedited Handling of its 37 CFR § 1.78(e) Petition. The P.T.O. granted the 37 CFR §1.1182
    San Francisco, CA 94111




                                    17
                                         Petition and dismissed the 37 CFR § 1.78(e) Petition. See Exhibit J. The P.T.O. decided that
         Hosie Rice LLP




                                    18
                                    19   MasterObjects had “timely made a claim for benefit of priority by submitting within the time

                                    20   period set forth at 37 CFR 1.78(d) an application data sheet identifying the applications for which
                                    21
                                         the benefit of priority was sought by application number (series code and serial number) and
                                    22
                                         relationship …. As the application data sheet properly identified the applications for which priority
                                    23
                                         was sought by application number and relationship, a filing receipt reflective of the acceptance of
                                    24
                                    25   the claim was issued.” Id. “In view thereof, a petition under 37 CFR 1.78” was deemed “not

                                    26   necessary” by the P.T.O. See id.
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                  -6-                  CASE NO. 5:20-CV-08103-WHA (KAW)
                                          Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 8 of 48




                                     1          22.     The ’866 Patent is a continuation of the ’628 Patent, and the ’628 Patent is a
                                     2   continuation of the ’024 Patent. The ’024 Patent is a continuation of MasterObjects’ U.S. Patent
                                     3
                                         8,112,529 (the “’529 Patent”). (MasterObjects does not assert the ’529 Patent here). The ’073
                                     4
                                         Patent is related to the ’866 Patent’s great-grandparent, the ’529 Patent. All asserted claims,
                                     5
                                     6   including all asserted ’073 Patent claims, are entitled to the benefit of the ’529 Patent’s filing date.

                                     7                        C. The Infringing Amazon Instrumentalities.
                                     8
                                                23.     Amazon is the top United States company ranked by retail e-commerce sales. See
                                     9
                                    10   http://emarketer.com/content/digital-investments-pay-off-for-walmart-in-ecommerce-race.            Not

                                    11   surprisingly, Amazon lists a staggering number of products on its U.S. Amazon.com website, 564
                                    12   million as of January 2018 to be exact. See http://www.scrapehero.com/how-many-products-
                                    13
                                         amazon-sell-worldwide-january-2018/. With this many listings, Amazon’s predictive search
                                    14
                                         function is paramount to an Amazon customer’s ability to find products, and thus search is critical
                                    15
                                    16   to Amazon. As a CNN journalist put it with respect to his search for socks on Amazon: “[n]o one
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17   could possibly scroll through them all, especially while staring at a smartphone. It’s critical that
         Hosie Rice LLP




                                    18   Amazon shows customers what they truly want.” https://www.cnn.com/2018/10/05/tech/amazon-
                                    19
                                         artificial-intelligence/index.html.
                                    20
                                                24.     The fact is, Amazon is a retail giant powered by intelligent search algorithms. It is
                                    21
                                    22   a search company running a search engine that provides predictive search results.

                                    23          25.     Amazon’s premier search offering is its product search. This is the search feature

                                    24   an Amazon customer uses in the Amazon apps for iOS and Android operating systems and on
                                    25
                                         Amazon.com:
                                    26
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                    -7-                 CASE NO. 5:20-CV-08103-WHA (KAW)
                                             Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 9 of 48




                                     1
                                     2
                                     3
                                     4
                                     5
                                     6           26.   Amazon’s product search feature is critical to its core business with “[a]lmost 90
                                     7   percent of all product views on Amazon result[ing] from Amazon’s product search and not
                                     8
                                         merchandising, ads or product aggregators.”          See https://www.marketwatch.com/press-
                                     9
                                         release/the-race-is-on-jumpshot-releases-the-competitive-state-of-ecommerce-marketplaces-data-
                                    10
                                    11   report-2018-09-06.

                                    12           27.   Amazon leads the search product field. In 2018, “Amazon overtook Google in
                                    13   product search with about 54 percent of product searches being on Amazon ….”
                                    14
                                         https://www.marketwatch.com/press-release/the-race-is-on-jumpshot-releases-the-competitive-
                                    15
                                         state-of-ecommerce-marketplaces-data-report-2018-09-06). 1 “Among weekly [Amazon] Prime
                                    16
600 Montgomery Street, 34th Floor




                                         users, 79% start their product searches on Amazon, and 65% of other Prime members start on
    San Francisco, CA 94111




                                    17
         Hosie Rice LLP




                                    18   Amazon as well.”         https://www.fool.com/investing/2019/12/26/is-google-amazon-biggest-
                                    19   competitor.asp.
                                    20
                                                 28.   In 2014, then Google executive chairman Eric Schmidt identified Amazon as
                                    21
                                         Google’s main search competitor:
                                    22
                                    23
                                    24
                                         1
                                               See   also     https://www.cnn.com/2018/09/30/tech/amazon-digital-ads-google-facebook-
                                    25   microsoft-oath/index.html (“More people are starting their searches for products on Amazon
                                         instead of Google or another search engine ….”); http://www.emarketeer.com/content/more-
                                    26   product-searches-start-on-amazon (“A number of consumer surveys have shown that more US
                                         digital shoppers now start their searches on Amazon. Nearly half (46.7%) of US internet users
                                    27   started product searches on Amazon compared with 34.6% who went to Google first … And the
                                         leading method among digital shoppers in the US surveyed … in February 2018 was searching
                                    28   and buying on Amazon (41%) followed by searching on Google then buying on Amazon (28%)”).
                                          SECOND AMENDED COMPLAINT                 -8-              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 10 of 48




                                     1           Many people think our main competition is Bing or Yahoo … But, really, our
                                                 biggest search competitor is Amazon. People don’t think of Amazon as search,
                                     2           but if you are looking for something to buy, you are more often than not looking
                                     3           for it on Amazon.
                                         https://www.cnet.com/news/googles-biggest-search-competitor-is-amazon-says-former-ceo/
                                     4
                                         (emphasis added).
                                     5
                                     6          29.      Amazon’s search prowess makes it not just an e-commerce juggernaut, but a search

                                     7   ad powerhouse. In this area, still led by Alphabet’s Google, Amazon has moved into second place,
                                     8   passing Microsoft in 2018 to “become the second-largest ad platform for search in the U.S.” See
                                     9
                                         https://www.cnbc.com/2019/10/15/amazon-is-eating-into-googles-dominance-in-search-
                                    10
                                         ads.html. Amazon’s share of the search ad market by revenue was expected to grow to 15.9% by
                                    11
                                    12   2021. See id.

                                    13          30.      Amazon has a dedicated search technology entity known as “A9.” See

                                    14   https://web.archive.org/web/20190812003716/https://a9.com/what-we-do/product-search.html
                                    15
                                         (“If you’ve done a search on Amazon, you’ve used our search engine;” “Within Search we have
                                    16
600 Montgomery Street, 34th Floor




                                         the Search Operations team which builds and runs the world’s largest e-commerce product
    San Francisco, CA 94111




                                    17
                                         search”). A9 is “responsible for thousands of servers handling hundreds of millions of customer
         Hosie Rice LLP




                                    18
                                    19   searches daily.” Id. “Search and several related services [A9] support[s] are at the core of the

                                    20   Amazon business: they help customers find the items they want to buy.” Id. (emphasis added).
                                    21
                                                31.      One of Amazon’s goals in providing predictive search results is to do so while
                                    22
                                         minimizing latency. That is, Amazon tries to provide predictive search results as quickly as
                                    23
                                         possible.
                                    24
                                    25          32.      As Amazon once explained, “[a]s soon as [it] see[s] the first keystroke, [Amazon

                                    26   is] ready with instant suggestions and a comprehensive set of search results.”              See
                                    27
                                         https://web.archive.org/web/20190812003716/https://a9.com/what-we-do/product-search.html.
                                    28
                                          SECOND AMENDED COMPLAINT                 -9-                CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 11 of 48




                                     1   Amazon “start[s] the search experience by giving customers suggestions on how to formulate their
                                     2   queries as soon as they start typing.” Id. (emphasis added).
                                     3
                                                 33.    As a prominent journalist recently chronicled of his use of Amazon’s search:
                                     4
                                                 I get no further than typing “s” [in the search bar] and Amazon’s AI is already
                                     5           offering suggestions. SD card. Spiderman PS4. Shower curtain. To hone this
                                     6           suggestion list, Amazon taps historical data from billions of searches, and the
                                                 results evolve constantly to reflect how people who start a query with “s” typically
                                     7           complete it. Queries that have been most likely to lead to a sale top the list.
                                         See https://www.cnn.com/2018/10/05/tech/amazon-artificial-intelligence/index.html.
                                     8
                                     9           34.    Amazon’s predictive search for its Amazon websites (“Amazon Predictive

                                    10   Search”), including both for its Amazon.com desktop and mobile websites, infringes claims of the

                                    11   Patents-in-Suit.
                                    12
                                                 35.    In addition, Amazon’s predictive search for client applications and platforms it
                                    13
                                         makes, sells, and/or distributes (“Amazon Applications”), including the Amazon applications for
                                    14
                                         the iOS and Android mobile phone platforms for Amazon.com, infringes claims of the Patents-in-
                                    15
                                    16   Suit.
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17           36.    Amazon Predictive Search and Amazon Applications (collectively the “Accused
         Hosie Rice LLP




                                    18
                                         Instrumentalities”) meet all the elements of claims of the Patents-in-Suit. Amazon infringes the
                                    19
                                         Patents-in-Suit.
                                    20
                                                 37.    Amazon is well-known for being extraordinarily secretive. As one technology
                                    21
                                    22   journalist wrote, “[i]t’s incredibly rare to get a comment from the company on any story, even if

                                    23   the news is very positive or controversial, and the only time we really hear from the company on
                                    24
                                         the record is when it issues a press release.” See, e.g., https://www.businessinsider.com/amazon-
                                    25
                                         secrecy-2013-8. Despite the fact that search is at the core of Amazon’s business, it publishes
                                    26
                                         limited information about how its search works. Nevertheless, some basic aspects of Amazon’s
                                    27
                                    28   search can be understood by trying Amazon’s search and by inspecting the network traffic that is
                                          SECOND AMENDED COMPLAINT               - 10 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 12 of 48




                                     1   generated. This Complaint attaches as Exhibit K, MasterObjects’ Supplemental Disclosure of
                                     2   Asserted Claims and Infringement Contentions, which includes representative infringement charts,
                                     3
                                         which include some non-public information based on the limited discovery provided by Amazon,
                                     4
                                         and MasterObjects’ ongoing investigation, to date.
                                     5
                                     6             V.     NOTICE AND WILLFULNESS.
                                     7
                                                 38.     The allegations of each foregoing paragraph are incorporated by reference as if
                                     8
                                         fully set forth herein.
                                     9
                                    10           39.     Amazon has been on constructive notice of the Patents-in-Suit. MasterObjects

                                    11   ceased product sales by at least January 2013. The Patents-in-Suit all issued after January 2013.
                                    12   More, MasterObjects’ website states that its technology is protected by the ’024 Patent.
                                    13
                                         MasterObjects has complied with, and/or MasterObjects need not comply with, 35 U.S.C. § 287(a).
                                    14
                                    15                        A. Pre-Suit Knowledge of Infringement:

                                    16
600 Montgomery Street, 34th Floor




                                                 40.     Amazon has known about MasterObjects, MasterObjects’ products, and
    San Francisco, CA 94111




                                    17
                                         MasterObjects’ patent portfolio since at least 2011.
         Hosie Rice LLP




                                    18
                                                 41.     In 2011, MasterObjects filed suit against Amazon for patent infringement. That
                                    19
                                    20   suit was styled MasterObjects, Inc. v. Amazon.com, Inc., No. 3:11-cv-01055-CRB, N.D. Cal

                                    21   (Amazon I). The Amazon I complaint asserted MasterObjects’ U.S. Patent No. 7,752,326 (the
                                    22   “’326 Patent”), explained that that patent was a continuation-in-part of MasterObjects’ 2001
                                    23
                                         application (the ’529 Patent’s application), and attached the ’326 Patent as an exhibit. (The ’326
                                    24
                                         Patent lists the ’529 Patent’s application number on its face; the ’529 Patent issued on February 7,
                                    25
                                    26   2012.) The Amazon I complaint described the ’326 Patent as an “instant search patent.”

                                    27           42.     The Amazon I complaint also explained that:
                                    28
                                          SECOND AMENDED COMPLAINT                  - 11 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 13 of 48




                                     1             In 2000, Mark Smit, the founder of Plaintiff MasterObjects, invented a novel
                                                   approach to search, an approach that solved the ‘request-response loop’ problem.
                                     2             Smit envisioned a system where dynamic and intelligent search field would
                                     3             immediately begin submitting a search query as the user began typing characters
                                                   into the query filed. Using asynchronous communications technology, as the user
                                     4             typed more characters, the results in the drop-down box would change dynamically,
                                                   becoming increasingly relevant as the string of characters lengthened.
                                     5
                                     6                                                    ***

                                     7             MasterObjects’ products practice the ’326 patent, and MasterObjects has been
                                                   selling these products from 2004 froward. MasterObjects remains a going concern
                                     8             today, selling products that practice its patented technology.
                                     9
                                                   43.     The Amazon I complaint went on to identify, in a section titled “Amazon Search
                                    10
                                         Suggestions,” the enhanced search capabilities of the Amazon.com website, Amazon browser
                                    11
                                    12   toolbars and add-ins, and mobile applications for iPhone and Android platforms, as infringing the

                                    13   ’326 Patent.

                                    14             44.     The instrumentalities accused of infringing the ’024, ’628, ’866, and ’073 Patents
                                    15
                                         in this case include the instant search features for the Amazon.com websites, the Amazon
                                    16
600 Montgomery Street, 34th Floor




                                         applications for the iOS and Android phone platforms for Amazon.com, the Amazon.com
    San Francisco, CA 94111




                                    17
                                         extended browser toolbars and add-ins, and the feature referred to by Amazon as “
         Hosie Rice LLP




                                    18
                                    19
                                    20
                                    21
                                         -         45.
                                                         .” See ⁋⁋ 35-36 above & Ex. K, § II.

                                                           The ’024, ’628 and ’866 Patents are related to the ’326 Patent through the ’529

                                         Patent, i.e., the 2001 application referenced in the Amazon I complaint. The ’326 Patent is a
                                    22
                                         continuation-in-part of the ’529 Patent. The ’073 Patent is a continuation of MasterObjects’ U.S.
                                    23
                                         Application 12/176,984 (the ’984 Application), which is in turn a continuation-in-part of the ’326
                                    24
                                    25   Patent:

                                    26   ///
                                    27
                                         ///
                                    28
                                          SECOND AMENDED COMPLAINT                    - 12 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                        Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 14 of 48




                    1            '529
                    2

                    3
                          Filed Aug 20, 2001
                                                   --v     Ctd.-in-Part      '                  '326
                                                                                         Filed Oct. 25 , 2005

                    4

                    5

                    6
                            '024 (asserted)                                      App. No. 12/176,984 (abandoned)
                    7
                           Filed Feb. 6, 2012                                          Filed Jul. 21, 2008
                    8

                    9

                   10
                           '628 (asserted)
                   11     Filed Sep. 6, 2013                                                   Ctd.

                   12

                   13

                   14       '866 (asserted)                                              '073 (asserted)
                          Filed Dec. 22, 2016                                          Filed Feb. 17, 2017
                   15
       ....                    46.      Amazon's pre-suit knowledge of the MasterObjects patent family is not limited to
       0           16
      ~-
      s
      -5
      s::r --      17   2011 ; rather, Amazon 's experience with the MasterObjects patent portfolio is extensive and long
i:i.. ..,.,_ ~
...:l ...
...:l ~       (5   18   rnnning.     Amazon cited or had cited to it by the P.T.O. MasterObjects ' patents or patent
  Q) ...
. ::! Cl) 0
i:t::  c  ~        19
·-Q,) G,)
      8 · (.)
          -
                        applications over various Amazon patent prosecutions over many years.             These Amazon
  fB O ij
:I:    ...
       bl) ....
       Q Q
              ~
                   20
                        prosecutions involved senior Amazon executives, including executives that would have been
      ~~           21
      0
      0
      \0
                   22   aware of the Amazon I complaint, and Amazon search engineers,

                   23                                                                                              . The

                   24   MasterObjects patents, including the here asserted '024 Patent, were the center piece of Amazon
                   25
                        Info1mation Disclosm e Statements ("IDS"), an d MasterObjects ' patents were the primaiy
                   26
                        references discussed by Amazon, examiners, an d even the PTAB in relation to examiner rejections
                   27
                        of Amazon instant seai·ch patent applications. Amazon was aware of the '024 Patent long prior to
                   28
                         SECOND AMENDED COMPLAINT                  - 13 -             CASENO. 5:20-CV-08103-WHA(KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 15 of 48




                                     1   this suit being filed, and would have also been aware of the ’628, ’073, and ’866 Patents prior to
                                     2   this suit being initiated. Prior to this suit being filed, Amazon understood that it infringed the
                                     3
                                         Patents-in-Suit. It certainly knew there was a high risk of infringing the Patents-in-Suit. At the
                                     4
                                         very least, here, where Amazon was accused prior of infringing a related patent, knew of
                                     5
                                     6   MasterObjects’ patented technology, was on notice of the Patents-in-Suit, and was immersed in

                                     7   years of back-and-forth with the P.T.O. over MasterObjects-based rejections, the risk of infringing
                                     8   the Patents-in-Suit was so obvious it should have been known to Amazon. Amazon willfully
                                     9
                                         infringed the Patents-in-Suit pre-suit.
                                    10
                                                47.     On July 2, 2010, Amazon filed its application for U.S. Patent No. 8,639,715, titled
                                    11
                                    12   “Auctionable Rich Media Search Suggestions” (“Brinck I”). The face of Brinck I identifies the

                                    13   assignee as “A9.com, Inc.” A9 is an Amazon entity devoted to internet search. See ⁋ 30 above.

                                    14   The first named inventor on Brinck I, Thomas G. Brinck, worked on Amazon search
                                    15
                                         instrumentalities, as demonstrated by his LinkedIn resume: “led UX for search and advertising at
                                    16
600 Montgomery Street, 34th Floor




                                         A9.com (Amazon);” “A9.com[,] Creative Director … Generated advanced search UI concepts …”.
    San Francisco, CA 94111




                                    17
                                         The same is true of the third named inventor, Ryan M. White: “Amazon … Amazon Search :
         Hosie Rice LLP




                                    18
                                    19   Queries and Results … Search Queries and Results builds the core data driven algorithms, enabling

                                    20   millions of customers everyday to search, discover and purchase items on Amazon … Search
                                    21
                                         Analytics & Search Assistance … Search Assistance delivers Inline Search Suggestions …”. And
                                    22
                                         of the fourth named inventor, Bryce Erwin: “A9.com -Amazon.com … Developed next generation
                                    23
                                         search … across Amazon’s storefront and peripheral product line …”. The same is also true of
                                    24
                                    25   the second named inventor, Matthew W. Amacker: “Principal Engineer at Amazon – Created

                                    26   hundreds of new user-facing protypes and services directly resulting in Billions of additive sales
                                    27
                                         and ad revenue per year …. A9.com[,] Principal Engineer – Amazon.com … search and browser
                                    28
                                          SECOND AMENDED COMPLAINT                  - 14 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 16 of 48




                                     1   technology … Built search completion feature for Amazon.com – made them a billion in one year.”
                                     2
                                     3
                                     4
                                                                 .”   The named Brinck I inventors worked on the Amazon search
                                     5
                                     6   instrumentalities accused of infringing the Patents-in-Suit.

                                     7          48.     Amazon replaced its Brinck I prosecution counsel, Townsend and Townsend and
                                     8   Crew, LLP, with Novak Druce + Quigg LLP. The relevant “Revocation and General Power of
                                     9
                                         Attorney” was signed by William F. Stasior and was submitted by Amazon to the P.T.O. on
                                    10
                                         February 23, 2012. As demonstrated by his LinkedIn resume, Mr. Stasior was both the C.E.O. of
                                    11
                                    12   A9.com and the Amazon.com, Inc., Vice President for Amazon Search. He “[l]ed Search at

                                    13   Amazon while serving as President of … A9.com.” Mr. Stasior “[a]lso served as [a] member of

                                    14   [Amazon C.E.O.] Jeff Bezos’ senior executive committee, the S-team, overseeing all of Amazon’s
                                    15
                                         operations.”
                                    16
600 Montgomery Street, 34th Floor




                                                49.     On December 12, 2012, the P.T.O. mailed Amazon an Office Action with respect
    San Francisco, CA 94111




                                    17
                                         to Brinck I’s application. This Office Action rejected Amazon’s pending claims as anticipated by
         Hosie Rice LLP




                                    18
                                    19   the ’326 Patent. In response, on February 12, 2013, Amazon amended its claims and argued that

                                    20   they were patentable over the ’326 Patent. The examiner responded on June 21, 2013, rejecting
                                    21
                                         Amazon’s claims as obvious. The examiner’s primary reference was the ’326 Patent. Amazon
                                    22
                                         responded to this second rejection on September 23, 2013, by again amending its claims and
                                    23
                                         arguing that they were patentable over MasterObjects’ ’326 Patent. By this time MasterObjects’
                                    24
                                    25   ’024 Patent had issued. The ’024 Patent issued on September 17, 2013; its issuance fees were paid

                                    26   on August 8, 2013; it received a Notice of Allowance (“NOA”) on July 31, 2013; and its
                                    27
                                         application was published on November 8, 2012.
                                    28
                                          SECOND AMENDED COMPLAINT                  - 15 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                          Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 17 of 48




                                     1                 50.             On March 29, 2012, Amazon filed its application for U.S. Patent No. 8,918,392,
                                     2    tiled “Data Storage Mapping and Management (“Brooker I”). The face of Brooker I identifies the
                                     3
                                          assignee as “Amazon Technologies, Inc.” Kilpatrick Townsend & Stockton LLP, the successor to
                                     4
                                          Townsend and Townsend and Crew LLP (Townsend and Kilpatrick merged in 2011), represented
                                     5
                                     6    Amazon during its prosecution of Brooker I’s application.

                                     7                 51.             On August 22, 2014, the Brooker I examiner cited MasterObjects’ “US-
                                     8    2012/0284329” and “US-2003/0041147” applications to Amazon. These are the patent application
                                     9
                                          publication numbers for the ’024 and ’529 Patent respectively. The ’024 had issued approximately
                                    10
                                          a year prior to this cite. These cites came on a ten item Notice of References Cited that list the two
                                    11
                                    12    MasterObjects patents first and second:

                                    13          .                Document Number
                                                            Country Cod&-thnbet- Kind Code
                                                                                                       03te
                                                                                                    u ...........
                                                                                                                      -·-·. ···- ·· ----···-···-
                                                                                                                                                N3me                                        C~fieo.tion




                                    14 IC::::   ..     A   uS-2012/0284329
                                                           LJ!';-2003/0041147
                                                                                                   11-2012
                                                                                                   02-2003
                                                                                                                     van don Oord ot al.
                                                                                                                     van den Oord et al.



                                    15
                                                 ..    C
                                                       D
                                                           US-2009/0089409
                                                           US-2010/0333 116
                                                                                                   04-2009
                                                                                                   12-2010
                                                                                                                     t-'ask.o et aJ.
                                                                                                                     Prahlad et al.
                                                                                                                                                                                              7091223
                                                                                                                                                                                              7091216

                                                  ..   E
                                                       F
                                                           US-2010/0174731
                                                           US-2006/0059253
                                                                                                   07-2010
                                                                                                   03-2006
                                                                                                                     Vermeulen et al .
                                                                                                                     Goodman et al.
                                                                                                                                                                                              707/758
                                                                                                                                                                                              7091223
                                    16
600 Montgomery Street, 34th Floor




                                                   .   G

                                                       H
                                                           US-8,756,375
                                                           US-8,578.127
                                                                                                   06-2014
                                                                                                   11-2013
                                                                                                                     Flynn, David
                                                                                                                     Thatcher et al.
                                                                                                                                                                                              711 1128
                                                                                                                                                                                              7111202
    San Francisco, CA 94111




                                    17                 I

                                                       J
                                                           US·
                                                           US·
         Hosie Rice LLP




                                                           us-
                                    18
                                                       K

                                                       L   us-
                                                       M   us-
                                    19          .                 Document Number                     Date
                                                                                                                    FOREIGN PATENT DOCUMENTS

                                                            CQ..Jnlty Oxfo.Nii>mbOr•Kind   Codo     MM-YYYY                  Country                         No.mo                          Clil~fico.1ion

                                    20                 N

                                                       0


                                    21
                                                       p

                                                       0
                                                       R

                                    22                 s
                                                       T

                                    23          .                                                                    NON-PATENT DOCUMENTS
                                                                                            lnd ude as applicable : Author, Title Date, Publisher, Edition or Volume, Pertinenl Pages)



                                    24                 u   W Wong . P Nikander • 2010 • conferences.npl.co.uk • "Towards Secure lnlormalion-centric Naming" OCT. 2010 pages: 1·8



                                    25
                                                           Kun Wang : Qlang Guo: and Jlnclong Wang · · Research on Secu rily Funcdon Component Model of Intelligent Security Defense
                                                           Scheme· · Altif,:lal Intelligence and Computational Intelligence (AICI). 201 o International Conference on (Volume:1 )
                                                       V
                                                           Date of Conference: 23-24 Oct. 2010 · Page(s): 129 • 133


                                    26
                                                       52.             On March 29, 2012, Amazon filed its application for U.S. Patent No. 8,935,203,
                                    27
                                          tiled “Environment-Sensitive Distributed Management (“Brooker II”). The face of Brooker II
                                    28
                                           SECOND AMENDED COMPLAINT                                                                        - 16 -                                        CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 18 of 48




                                     1   identifies the assignee as “Amazon Technologies, Inc.” Kilpatrick Townsend & Stockton LLP
                                     2   represented Amazon during its prosecution of Brooker II’s application. While Brooker I and
                                     3
                                         Brooker II cross-reference each other’s applications, they are not related by priority.
                                     4
                                                  53.             On October 21, 2014—two months after the examiner’s cite to the ’024 Patent’s
                                     5
                                     6   application in the Brooker I prosecution—Amazon filed a post-NOA IDS for Brooker II that

                                     7   identified the ’024 and ’529 Patents by publication number. Clearly Amazon had taken note of
                                     8   the examiner’s prior citations.
                                     9
                                                  54.             On March 29, 2012, Amazon filed its application for U.S. Patent No. 8,930,364,
                                    10
                                         tiled “Intelligent Data Integration” (“Brooker III”). The face of Brooker III identifies the assignee
                                    11
                                    12   as “Amazon Technologies, Inc.” Kilpatrick Townsend & Stockton LLP represented Amazon

                                    13   during its prosecution of Brooker III’s application. While Brooker I, II and III cross-reference

                                    14   each other’s applications, they are not related by priority.
                                    15
                                                  55.             On November 14, 2014, Amazon filed a post-NOA IDS for Brooker III that
                                    16
600 Montgomery Street, 34th Floor




                                         identified the ’024 and ’529 Patents by publication number. The MasterObjects applications were
    San Francisco, CA 94111




                                    17
                                         two of only eight references listed:
         Hosie Rice LLP




                                    18
                                    19                                                               U.S. PATENTS
                                                                                          Kind                                                     Pages, Columns, Lines, Where
                                              Exa miner   Cite                                                       Name of Palenlee or
                                                                      Patent Number              Issue Dale                                        Refevanl Passages or Relevant
                                    20
                                              lniliat·    No                              fMe                        Appl;cant of ole<l Documenl
                                                                                                                                                   Fioures AnnP.ar
                                                                 1.   8,756,375                  06-17-2014          Flvnn
                                                                 2.   8,578,127                  11-05-2013          Tha lcher

                                    21
                                                                                      U.S. PATENT APPLICATION PUBLICATIONS

                                    22        Examiner
                                              Initial"
                                                          Cile
                                                          No
                                                                      Publication
                                                                      Number
                                                                                          Kind
                                                                                          Code   Publication Date
                                                                                                                     Name of PaIenIee or
                                                                                                                     Applicanl of ciled Document
                                                                                                                                                   Pages., Columns, Lines, Where
                                                                                                                                                   Relevant Passages or Relevant
                                                                                          '                                                        FiQures Aor1e.ar
                                                                 ,.   2012/0284329               11-()8-2012
                                    23
                                                                                                                     \Ian den Cord et al.
                                                                              1147               02-27-2003          van den Oord et !.II
                                                                 5.   2009,~-•=                                      r-1:1SkOeta1.
                                                                 6.   2010/0333116               12-30-2010          Prahlad el al.
                                    24                           7.
                                                                 8.
                                                                      2010/017473 1
                                                                      2006/0059253
                                                                                                 07-08-2010
                                                                                                 03-16-2006
                                                                                                                     Vermeulen el al.
                                                                                                                     Goodman et al.


                                    25
                                                  56.             On August 11, 2014, Amazon filed its application for U.S. Patent No. 9,531,809,
                                    26
                                         tiled “Distributed Data Storage Controller” (“Brooker IV”). The face of Brooker IV identifies the
                                    27
                                    28   assignee as “Amazon Technologies, Inc.” Kilpatrick Townsend & Stockton LLP represented
                                          SECOND AMENDED COMPLAINT                                                  - 17 -                            CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 19 of 48




                                     1   Amazon during its prosecution of Brooker IV’s application. While Brooker IV cross-references
                                     2   Brooker I, II, III’s applications, Brooker IV is not related to Brooker I, II or III by priority.
                                     3
                                                 57.     When Amazon filed the application for Brooker IV, it filed a “Power of Attorney
                                     4
                                         to Prosecute Applications Before the USPTO.”              This power of attorney lists “Amazon
                                     5
                                     6   Technologies, Inc.” as the assignee and is signed by Scott Hayden as “Vice President.” According

                                     7   to Mr. Hayden’s Linked resume, he is Amazon.com, Inc.’s “Vice President and Chief Intellectual
                                     8   Property Counsel.” Mr. Hayden “[l]ead[s] [the] team responsible for all aspects of [Amazon’s]
                                     9
                                         Intellectual Property (IP).” Mr. Hayden’s tenure as Amazon’s “VP Intellectual Property” began
                                    10
                                         in April 2006, and continues to this day.
                                    11
                                    12           58.     Amazon filed, on November, 25, 2014, yet another IDS that identified the ’024 and

                                    13   ’529 Patents by publication number. This IDS was filed during Amazon’s prosecution of its

                                    14   Brooker IV’s application.
                                    15
                                                 59.     Amazon was on notice of the ’024 Patent by at least the second half of 2014. By
                                    16
600 Montgomery Street, 34th Floor




                                         the end of 2014, Amazon had thrice cited to the already issued ’024 Patent’s publication number
    San Francisco, CA 94111




                                    17
                                         and its parent’s (’529 Patent) publication number. Amazon would not have merely incorporated
         Hosie Rice LLP




                                    18
                                    19   these application numbers into its IDSs without doing minimal due diligence and thereby

                                    20   discovering the long-issued patents.
                                    21
                                                 60.     On March 25, 2010, Amazon filed its application for U.S. Patent No. 9,589,032,
                                    22
                                         titled “Updating Content Pages With Suggested Search Terms and Search Results” (“Brinck II”).
                                    23
                                         The face of Brinck II identifies the assignee as “A9.com, Inc.” Brinck II lists Tom Brinck and
                                    24
                                    25   Matthew Amacker as its inventors. As explained above, Mr. Brinck and Mr. Amacker worked on

                                    26   the accused instrumentalities. While Brinck II and Brinck I share inventors, the two patents are
                                    27
                                         not related. Brinck II’s abstract describes:
                                    28
                                          SECOND AMENDED COMPLAINT                    - 18 -               CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 20 of 48




                                     1          Asynchronous updating of content pages with suggested search terms and search
                                                results is performed by receiving at least on character form a search term user
                                     2          interface element is received and suggested search terms are generated. At least
                                     3          one search result associated with the at least one suggested search term is retrieved
                                                from an electronic repository, and the content page is asynchronously updated with
                                     4          additional data about the search result retrieved from the electronic repository.
                                     5   Brinck II is an instant search patent.
                                     6
                                                61.     Amazon was represented by Thomas Horstemeyer, LLP during Brinck II’s
                                     7
                                         prosecution. Owing in no small part to the application for MasterObjects’ ’326 Patent, Brinck II’s
                                     8
                                     9   prosecution history is lengthy, with Brinck II receiving an Issue Notification on February 15, 2017,

                                    10   seven years after its application was filed.

                                    11          62.     The Brinck II examiner rejected Brinck II’s claims as anticipated by
                                    12
                                         “2006/0075120,” which is the publication number for the then already issued ’326 Patent, in a
                                    13
                                         January 17, 2012 Office Action. In response, on April 13, 2012, Amazon amended its claims and
                                    14
                                         argued that they were patentable over the ’326 Patent’s application. The examiner responded on
                                    15
                                    16   December 5, 2012, rejecting Amazon’s claims as obvious. The examiner’s primary reference was
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17   the ’326 Patent’s application. Amazon responded in July 2013, filing an Appeal Brief in which it
         Hosie Rice LLP




                                    18
                                         presented extensive arguments as to the alleged patentability of Brinck II over MasterObjects’
                                    19
                                         ’326 Patent’s application. The examiner filed an Answer on August 29, 2013, and a subsequent
                                    20
                                         Answer on September 11, 2013. Amazon filed its Reply Brief on October 28, 2013, in which it
                                    21
                                    22   again argued for the patentability of Brinck II over the ’326 Patent’s application. By this time the

                                    23   ’024 Patent had issued.
                                    24
                                                63.     On March 4, 2016, the PTAB issued its Decision on Appeal, affirming the
                                    25
                                         examiner’s rejection of Brinck II then pending claims in light of the ’326 Patent’s application. The
                                    26
                                         PTAB concurred with the examiner that the ’326 Patent’s application “teaches that the user
                                    27
                                    28   interface does not make use of a submit (or similar) button, and instead asynchronously responds
                                          SECOND AMENDED COMPLAINT                 - 19 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 21 of 48




                                     1   to the user’s input.” In response, on May 2, 2016, Amazon again amended its claims and argued
                                     2   that they were patentable over the ’326 Patent’s application. By this time, not only had the ’024
                                     3
                                         Patent issued, but Amazon had filed three IDSs citing its publication number. Amazon knew about
                                     4
                                         the ’024 Patent and understood that its instant search technology read on the ’024 Patent’s claims.
                                     5
                                     6          64.     On July 6, 2016, the Brinck II examiner again rejected Brinck II claims as obvious

                                     7   in light of the ’326 Patent’s application. In response, on October 3, 2016, Amazon once again
                                     8   amended its instant search claims and argued that they were patentable over the ’326 Patent’s
                                     9
                                         application. On October 21, 2016, the examiner issued a Notice of Allowance, which discussed
                                    10
                                         the ’326 Patent’s application.
                                    11
                                    12          65.     On November 17, 2016, Amazon filed its application for U.S. Patent No. 9,906,598,

                                    13   titled “Distributed Data Storage Controller” (“Brooker V”). The face of Brooker V identifies the

                                    14   assignee and applicant as “Amazon Technologies, Inc.” Kilpatrick Townsend & Stockton LLP
                                    15
                                         represented Amazon during its prosecution of Brooker V’s application.            Brooker V is a
                                    16
600 Montgomery Street, 34th Floor




                                         continuation of Brooker IV. When Amazon filed the application for Brooker V, it filed a “Power
    San Francisco, CA 94111




                                    17
                                         of Attorney by Applicant.” This power of attorney lists “Amazon Technologies, Inc.” as the
         Hosie Rice LLP




                                    18
                                    19   assignee, and is signed by Amazon.com, Inc.’s Chief Intellectual Property Counsel, Mr. Hayden,

                                    20   as “Vice President.”
                                    21
                                                66.     On December 1, 2016, with respect to its prosecution of Brooker V, Amazon filed
                                    22
                                         yet another IDS that identified the published applications for MasterObjects’ ’024 and ’529
                                    23
                                         Patents. The ’024 Patent’s issuance date pre-dates this December 2016 IDS by more than three
                                    24
                                    25   years. More, by this time, the ’024 Patent’s immediate child, the ’628 Patent, had received an

                                    26   NOA.
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                  - 20 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 22 of 48




                                     1          67.      MasterObjects’ ’628 Patent’s application published on April 3, 2014. The P.T.O.
                                     2   issued an NOA for the ’628 Patent on November 18, 2016. By the time Amazon was religiously
                                     3
                                         citing the ’024 and ’529 Patent’s published applications, the ’628 Patent’s application was publicly
                                     4
                                         available. By the time Amazon was responding to the PTAB’s affirmation that Brinck II claims
                                     5
                                     6   were not patentable in light of the ’326 Patent’s application, the ’628 Patent’s application was

                                     7   publicly available. By the time Amazon cited the ’024 Patent’s application, the immediate parent
                                     8   of the ’628 Patent, in its prosecution of Brooker V, the P.T.O. had allowed the ’628 Patent’s claims.
                                     9
                                         Amazon was aware of the ’628 Patent when it issued, and Amazon knew it infringed. The only
                                    10
                                         way Amazon could not be so aware, is if it were willfully blind to the ’628 Patent and its
                                    11
                                    12   infringement.

                                    13          68.      On February 1, 2017, Amazon filed its application for U.S. Patent No. 10,497,041,

                                    14   titled “Updating Content Pages With Suggested Search Terms and Search Results” (“Brinck III”).
                                    15
                                         The face of Brinck III identifies the applicant as “A9.com, Inc.” and the assignee as “Amazon
                                    16
600 Montgomery Street, 34th Floor




                                         Technologies, Inc.” Brinck III is a continuation of Brinck II. Tom Brinck and Matthew Amacker
    San Francisco, CA 94111




                                    17
                                         are listed as inventors on the face of Brinck III. As explained above, Mr. Brinck and Mr. Amacker
         Hosie Rice LLP




                                    18
                                    19   worked on the accused instrumentalities. Amazon was represented by Thomas Horstemeyer, LLP

                                    20   during Brinck III’s prosecution.
                                    21
                                                69.      By way of a June 26, 2018 Office Action, the P.T.O. rejected Brinck III’s claims
                                    22
                                         as anticipated by “Smit (US PUB 2009/0006543 A1).” “US PUB 2009/0006543 A1” is the
                                    23
                                         publication number for MasterObjects’ ’984 Application. Then rejected Brinck III claim 21 read:
                                    24
                                    25            A method comprising:
                                                      generating, in at least one computing device, a content page having a search
                                    26            term user interface element;
                                                      receiving, in at least one computing device, at least one character from the
                                    27
                                                  search term user interface element, the at least one character corresponding to
                                    28            a search for an item in an electronic repository;
                                          SECOND AMENDED COMPLAINT                 - 21 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 23 of 48




                                     1                    generating, in the at least one computing device, at least one suggested
                                                      search term corresponding to the at least one character;
                                     2                    retrieving, from the electronic repository, at least one search result
                                     3                associated with the at least one suggested search term; and
                                                          asynchronously updating the content page, by the at least one computing
                                     4                device, with a suggested search term user interface element, the suggested
                                                      search term user interface element displaying the at least one suggested search
                                     5                term and at least one image corresponding to the at least one search result.
                                     6
                                         Brinck III is an instant search patent.
                                     7
                                                70.      On September 25, 2018, Amazon amended its Brinck III claims and argued that
                                     8
                                     9   they were patentable over MasterObjects’ ’984 Application. MasterObjects’ ’628 Patent issued

                                    10   on September 12, 2017, more than a year prior to Amazon’s September 2018 Brinck III response.

                                    11   Amazon knew about the ’628 Patent and understood that its instant search technology read on the
                                    12
                                         ’628 Patent’s claims.
                                    13
                                                71.      On October 19, 2018, the examiner, relying on the ’984 Application as the primary
                                    14
                                         reference, rejected Brinck III claims as obvious. On February 5, 2019, Amazon responded with
                                    15
                                    16   amendments and arguments. On February 26, 2019, the examiner again rejected Brinck III claims
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17   as obvious in light of MasterObjects’ ’984 Application. On May 22, 2019, Amazon responded
         Hosie Rice LLP




                                    18
                                         again amending its claims and arguing that they were patentable over the ’984 Application. By
                                    19
                                         the time of this late May 2019 response, MasterObjects’ ’073 Patent had received an issue
                                    20
                                         notification (which listed its June 4, 2019 issue date).
                                    21
                                    22          72.      The ’073 Patent is the immediate child of the ’984 Application, the reference at the

                                    23   heart of Amazon’s instant search patent Brinck III’s prosecution. The ’073 Patent’s application
                                    24
                                         published on August 10, 2017; the ’073 Patent received an NOA on April 1, 2019; and the ’073
                                    25
                                         Patent received an issue notification on May 15, 2019. Amazon would have discovered the already
                                    26
                                         allowed ’073 Patent claims during its Brinck III prosecution and understood it would infringe those
                                    27
                                    28   claims on their issuance by no later than May 2019.
                                          SECOND AMENDED COMPLAINT                  - 22 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 24 of 48




                                     1           73.    On July 9, 2019, the P.T.O. issued an NOA for Brinck III. The examiner stated
                                     2   that:
                                     3
                                                 The amended feature asynchronously updating the suggested search term to reflect
                                     4           the at least one navigation input, wherein asynchronous updating the suggested
                                                 search term user interface element comprises highlighting at least one of the at least
                                     5           two of the plurality of images as a selected image in response to the at least on
                                     6           navigation input and asynchronously updating the search term user in interface
                                                 element to reflect the at least one navigation input by enlarging the selected image
                                     7           as recited in claims 21, 26, 28, and 34, together with the other limitations of the
                                                 independent claims are novel and non-obvious over the prior art of record.
                                     8
                                     9           74.    Amazon received an issue notification for Brinck III on November 13, 2019. By

                                    10   this time both MasterObjects’ ’073 and ’866 Patents had issued. The ’073 Patent issued on June

                                    11   4, 2019. The ’866 Patent’s application published on July 6, 2017; the ’866 Patent received an
                                    12
                                         NOA on June 26, 2019; the ’866 Patent’s issue fees were paid on July 9, 2019; and the ’866 Patent
                                    13
                                         issued on August 27, 2019.
                                    14
                                                 75.    Amazon knew, or should have obviously known, that it infringed each Patent-in-
                                    15
                                    16   Suit prior to this suit being initiated in May 2020:
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17       •   Amazon knew it had been accused of infringing a related MasterObjects instant search
         Hosie Rice LLP




                                    18
                                                 patent, the ’326 Patent.
                                    19
                                             •   Amazon was engaged in lengthy and sustained debates with the P.T.O. with respect to its
                                    20
                                    21           own instant search patents, given the P.T.O.’s view that MasterObjects’ instant search

                                    22           patent applications—the ’326 Patent’s application and the ’984 Application—constituted
                                    23           prior art to Amazon’s claims.
                                    24
                                             •   The Amazon instant search patents in question name an inventor, Matt Amacker,
                                    25                                                                                                    ■
                                                                                                . Mr. Amacker was a principal engineer for
                                    26
                                    27           Amazon’s search technology, and describes himself as having “[b]uilt [the] search

                                    28         completion feature for Amazon.com [] ma[king Amazon] a billion in one year.”
                                          SECOND AMENDED COMPLAINT             - 23 -           CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 25 of 48




                                     1       •   Amazon disclosed the here asserted ’024 Patent’s application during the prosecution of its
                                     2           own patent applications post-’024 Patent issuance four times.
                                     3
                                             •   Amazon’s then and now Chief Intellectual Property Counsel, Mr. Hayden, an Amazon Vice
                                     4
                                                 President, was directly involved in the prosecution of Amazon applications that cited the
                                     5
                                     6           ’024 Patent’s application. As Chief Intellectual Property Counsel, Mr. Hayden: oversaw

                                     7           Amazon’s patent prosecution due diligence; knew of the Amazon I complaint against
                                     8           Amazon instant search instrumentalities; was familiar with the accused instrumentalities;
                                     9
                                                 knew Amazon was citing the ’024 Patent application to the P.T.O.; and knew Amazon,
                                    10
                                                 post-’024 Patent issuance, repeatedly argued that Amazon instant search patent
                                    11
                                    12           applications were patentable over MasterObjects’ disclosures.

                                    13           76.    Amazon, through its prosecution activities, discovered each Patent-in-Suit and its
                                    14   infringement or likely infringement of the same prior to receiving notice of this suit and understood
                                    15
                                         the Patents-in-Suit to be valid and enforceable or likely valid and enforceable. Yet, Amazon
                                    16
600 Montgomery Street, 34th Floor




                                         continued to infringe and continues to infringe to this day. At a minimum, Amazon made a
    San Francisco, CA 94111




                                    17
         Hosie Rice LLP




                                    18   deliberate decision not to be diligent despite what it knew about MasterObjects as a result of its

                                    19   prosecution activities and the prior lawsuit, so as to avoid finding the issued Patents-in-Suit and/or
                                    20   concluding that it infringed or likely infringed the valid and enforceable or likely valid and
                                    21
                                         enforceable Patents-in-Suit. Put differently, at minimum, Amazon was willfully blind to its pre-
                                    22
                                         suit infringement. Amazon willfully infringed pre-suit, and Amazon continues to willfully infringe
                                    23
                                    24   to this day.

                                    25                       B. Post-Suit Knowledge of Infringement:
                                    26
                                                 77.    To the extent Amazon was not already on notice of each Patent-in-Suit and its
                                    27
                                    28   infringement of those patents, the Original Complaint filed in this action put Amazon on notice of
                                          SECOND AMENDED COMPLAINT                   - 24 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 26 of 48




                                     1   each Patent-in-Suit and its infringement, as did the First Amended Complaint, and MasterObjects’
                                     2   infringement contentions.
                                     3
                                                78.    MasterObjects filed its Original Complaint on May 4, 2020 (and refiled it on May
                                     4
                                         5, 2020). See ECF 1 & 9. Amazon was served with the Original Complaint by May 7, 2020. See
                                     5
                                     6   ECF 21. The Original Complaint attached each Patent-in-Suit in addition to the eBay IPR Final

                                     7   Written Decision, and described Amazon’s infringing activities.
                                     8          79.    Amazon was also served with MasterObjects’ Disclosure of Asserted Claims and
                                     9
                                         Infringement Contentions on July 10, 2020. These disclosures included claim charts for each
                                    10
                                         asserted claim based on publicly available information.
                                    11
                                    12          80.    Amazon was served with MasterObjects’ supplemental infringement contentions

                                    13   on April 8, 2021, and received a copy of the First Amended Complaint that same day, as an

                                    14   attachment to MasterObjects’ Motion for Leave to file that complaint. See ECF 120 & 121.
                                    15
                                         MasterObjects’ supplemental infringement contentions contained claim charts for each asserted
                                    16
600 Montgomery Street, 34th Floor




                                         claim. These charts include cites to internal, confidential Amazon documents and confidential
    San Francisco, CA 94111




                                    17
                                         source code files.    The First Amended Complaint included MasterObjects’ supplemental
         Hosie Rice LLP




                                    18
                                    19   infringement contentions and the Unified IPR Decision as exhibits.

                                    20          81.    Despite the notice provided by the prior complaints and two sets of infringement
                                    21
                                         contentions, Amazon continued, and continues to infringe, such that Amazon has willfully
                                    22
                                         infringed each Patent-in-Suit at least post-suit initiation. Not only does Amazon continue to
                                    23
                                         infringe despite notice of its infringement, but Amazon’s reliance on MasterObjects’ patented
                                    24
                                    25   technology has and will continue to increase. For example, according to eMarketer, “Amazon’s

                                    26   US ad revenues last year grew to $15.73 billion, increasing its market share from 7.8% in 2019 to
                                    27
                                         10.3% in 2020[ with g]rowth … driven by search revenues from Sponsored Products and
                                    28
                                          SECOND AMENDED COMPLAINT                 - 25 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 27 of 48




                                     1   Sponsored Brands …”. See eMarketer Editors, Amazon’s share of the US digital ad market
                                     2   surpassed 10% in 2020, Apr. 6, 2021, available at https://www.emarketer.com/content/amazon-s-
                                     3
                                         share-of-us-digital-ad-market-surpassed-10-2020. According to the eMarketer article, “Amazon
                                     4
                                         is stealing share from Google within search, as it continues to better monetize the channel.
                                     5
                                     6   Amazon’s search ad business will grow to $14.53 billion in 2021, boosting its share of US search

                                     7   ad spending to 19.0%, up from 13.3% in 2019.” See id.
                                     8          82.     Amazon’s post-suit initiation conduct further proves that Amazon believes that it
                                     9
                                         infringes the Patents-in-Suit.   Amazon has stated, including at the March 25, 2021 Case
                                    10
                                         Management Conference, that its “two best non-infringement arguments are related to two claim
                                    11
                                    12   limitations” it refers to as “the usability limitation and the caching limitation.” However, Amazon

                                    13   refuses to articulate these supposed best arguments. For example, with respect to an interrogatory

                                    14   request that asked Amazon to “state in detail every reason why You contend that ACCUSED
                                    15
                                         INSTRUMENTALITIES does not infringe that limitation, and IDENTIFY every fact and every
                                    16
600 Montgomery Street, 34th Floor




                                         DOCUMENT You contend supports Your contention,” Amazon responded, as follows, with
    San Francisco, CA 94111




                                    17
                                         nothing more than conclusory assertions that at most parroted claim language:
         Hosie Rice LLP




                                    18
                                    19         Amazon’s accused search functionality does not practice claims/claim limitations
                                               1[F], 17, 19, 27, 28, 32[F], 35[F], 36[F], or 37[F] of the ’024 Patent, claims/claim
                                    20         limitations 1[C], 14, 15, or 25[C] of the ’628 Patent, claims/claim limitations 1[G]
                                               or 3 of the ’073 Patent, or the claims that depend on these claims, all of which recite
                                    21
                                               some form of testing the “usability of the results in the return message.” Nor do
                                    22         MasterObjects’ infringement contentions show that they do. In Amazon’s accused
                                               search functionality, there is no usability test that “check[s] that the return message
                                    23         corresponds to the latest query,” or that “checks the usability of the results of the
                                               one of the return messages using a more recent version of the input,” or that “tests
                                    24
                                               the usability of the results in the return message by comparing the return message
                                    25         to the then-current input or matching it with a request identification maintained on
                                               the client object,” or that “tests the usability of the results in the return message by
                                    26         matching an ID associated with the input sent to the server system with an ID
                                               maintained in the client object,” or that “tests the usability of the results of the one
                                    27
                                               of the return messages using a latest version of the input,” or that “tests the usability
                                    28         of the results in the return message by checking that the return message corresponds
                                          SECOND AMENDED COMPLAINT                   - 26 -               CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 28 of 48




                                     1           to a latest query,” or any similar claim language. Pursuant to Rule 33(d) of the
                                                 Federal Rules of Civil Procedure, Amazon identifies the source code that it has
                                     2           made available to MasterObjects for inspection.
                                     3
                                                 Amazon’s accused search functionality does not practice Claim 7 of the ’024
                                     4           Patent, claim limitation 13[F] of the ’628 Patent, claim limitation 1[E] of the ’866
                                                 Patent, or claims/claim limitations 1[E] or 7 of the ’073 Patent, or the claims that
                                     5           depend on those claims. Amazon’s accused search functionality does make use of
                                     6           any caching as described by those claims/claim limitations. Pursuant to Rule 33(d)
                                                 of the Federal Rules of Civil Procedure, Amazon identifies the source code that it
                                     7           has made available to MasterObjects for inspection.
                                     8           83.    Amazon also punted when the Court, at the March 25, 2021 Case Management
                                     9
                                         Conference, invited Amazon to provide the Court with “a three-page statement of a single claim
                                    10
                                         that is so clear[]cut that you don’t infringe and why, or is so invalid and here is why, that [the
                                    11
                                    12   Court] can say, ‘Okay. We’re going to do – I can see now that the showdown is going to lead to

                                    13   something productive.’” In response to the Court’s invitation, Amazon said this case is not about

                                    14   inequitable conduct: “First, I did want to respond to Mr. Hosie’s claim that this case is about
                                    15
                                         inequitable conduct.     It’s not.”   Amazon then said that it has “substantial, excellent non-
                                    16
600 Montgomery Street, 34th Floor




                                         infringement arguments.” Amazon then told the Court that Amazon was not going to articulate
    San Francisco, CA 94111




                                    17
                                         what those arguments were: “our two best non-infringement arguments are related to two claim
         Hosie Rice LLP




                                    18
                                    19   limitations; and I’m not going to explain them, but they are the usability limitation and the caching

                                    20   limitation.”
                                    21
                                                 84.    Amazon’s refusal to set forth its “two best non-infringement arguments” with any
                                    22
                                         level of detail evidences Amazon’s lack of faith in its non-infringement defense. Amazon
                                    23
                                         understood that it infringed the Patents-in-Suit pre-suit, and it continues to believe that it infringes
                                    24
                                    25   to this day.

                                    26           85.    In addition to its supposed usability and caching non-infringement positions,
                                    27
                                         Amazon relies on articulated non-infringement positions that rest on claim constructions that were
                                    28
                                          SECOND AMENDED COMPLAINT                    - 27 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 29 of 48




                                     1   roundly rejected by other courts and/or the PTAB. Amazon knows about these past matters, and
                                     2                                                                   . Amazon is aware of these past
                                     3
                                         decisions.
                                     4
                                                86.     Amazon contends that the “limitations of the asserted claims that govern what
                                     5
                                     6   query messages are sent to the server should be construed to make clear that each query consists

                                     7   of only the changes to the input string that were not sent in any previous consecutive query,” that
                                     8   Amazon “does not infringe because it does not send such queries,” and that “as shown by
                                     9
                                         MasterObjects’ own infringement contentions, to the extent Amazon’s accused search
                                    10
                                         functionality sends query messages to the server, those query messages incorporate letters from
                                    11
                                    12   query messages that were previously sent.”

                                    13          87.     Facebook advanced the query messages claims construction argument now copied

                                    14   by Amazon in the Facebook matter and lost. Facebook asked Judge Albright to construe the query
                                    15
                                         message group of terms to mean “[e]ach query consists of only the changes to the input string that
                                    16
600 Montgomery Street, 34th Floor




                                         were not sent in any previous consecutive query.” MasterObjects proposed that these terms be
    San Francisco, CA 94111




                                    17
                                         given their “[p]lain and ordinary meaning” and that “[t]hese terms are not limited to a
         Hosie Rice LLP




                                    18
                                    19   message/string comprising only the changes to an input string, and may include the entire input

                                    20   string. On November 30, 2020, Judge Albright construed these terms as MasterObjects requested.
                                    21
                                         The Facebook matter involved the same patents asserted here.
                                    22
                                                88.     eBay, Inc. also advanced this “only the changes” argument in the eBay IPR and
                                    23
                                         lost. eBay argued that the term “query message” must be “limited to messages whose search
                                    24
                                    25   strings consist only of the changes to an input string rather than an entire input string.” The PTAB,

                                    26   in its July 27, 2017 Decision Instituting Inter Partes Review (“eBay IPR Institution Decision”),
                                    27
                                         disagreed. The PTAB gave the term “query message” “its ordinary and customary meaning.” The
                                    28
                                          SECOND AMENDED COMPLAINT                  - 28 -               CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 30 of 48




                                     1   PTAB found that [n]othing in the terms ‘query,’ ‘message,’ or ‘query message’ indicates sending
                                     2   only changes.” The eBay IPR involved the ’024 Patent, which is asserted here. MasterObjects
                                     3
                                         produced the relevant eBay IPR decision to Amazon on April 8, 2021. MasterObjects discussed
                                     4
                                         this decision in its public claim construction briefing in the Facebook matter; this briefing was
                                     5
                                     6   completed on October 23, 2020. And, through the Original Complaint in this action, Amazon has

                                     7   been on notice of the eBay IPR since at least May 2020.
                                     8          89.     Amazon contends that the “limitations of the asserted claims that recite
                                     9
                                         ‘asynchronous[] communications between a client computer/client object and a server system’
                                    10
                                         should be construed to make clear that both the client computer/client object and the server system
                                    11
                                    12   can initiate communications at any moment in time,” and that “Amazon’s accused search

                                    13   functionality does not infringe these claims or their dependent claims because it does not involve

                                    14   any communications initiated by the server system.”
                                    15
                                                90.     Facebook also advanced an asynchronous construction argument and lost.
                                    16
600 Montgomery Street, 34th Floor




                                         Facebook proposed that the terms “asynchronously” and “asynchronous” be construed to mean
    San Francisco, CA 94111




                                    17
                                         “[b]oth the client and the server can initiate communications at any moment in time.” Judge
         Hosie Rice LLP




                                    18
                                    19   Albright rejected Facebook’s proposal, and instead adopted a construction advanced by

                                    20   MasterObjects: “[e]ach side of the communication is free to communicate without waiting for the
                                    21
                                         other side.”
                                    22
                                                91.     MasterObjects produced to Amazon the claims construction orders from
                                    23
                                         MasterObjects, Inc. v. eBay, Inc., No. 3:12-cv-00680-JSC (N.D. Cal.) (“eBay I), MasterObjects,
                                    24
                                    25   Inc. v. Yahoo!, Inc., No. 3:11-cv-02539-JSW (N.D. Cal.) (“Yahoo! I”), and MasterObjects, Inc. v.

                                    26   Google, Inc., No. 4:11-cv-01054-PJH (N.D. Cal.) (“Google I”) on April 8, 2021. MasterObjects
                                    27
                                         also discussed these decisions in its public claim construction briefing in the Facebook matter, and
                                    28
                                          SECOND AMENDED COMPLAINT                  - 29 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 31 of 48




                                     1   Amazon itself cited to these prior matters in its June 18, 2020 Answer. See ECF 32. While eBay
                                     2   I, Yahoo! I, and Google I involved MasterObjects’ patents other than the Patents-in-Suit, these
                                     3
                                         prior defendants did try to read “initiate, any moment in time” limitations into those claims.
                                     4
                                                92.     In eBay I, eBay argued that the term “asynchronous connection” means “[a]
                                     5
                                     6   connection that allows one side of the communication to initiate communications at the same time

                                     7   as the other side at any moment in time within a session.” Judge Corley rejected eBay’s
                                     8   construction, holding that “the ‘initiate communication’ function is one possible embodiment of
                                     9
                                         the patents rather than a limitation on the claims.” Judge Corley construed “asynchronous
                                    10
                                         connection” to mean “a connection that allows one side of the communication to communicate at
                                    11
                                    12   the same time the other side is also communicating within a session.”

                                    13          93.     In Yahoo! I, Yahoo! argued that “asynchronous connection” means “a connection

                                    14   that allows either side of the communication to initiate communications at any moment in time
                                    15
                                         within a session.” Judge White rejected Yahoo!’s construction, finding: “the language cited by
                                    16
600 Montgomery Street, 34th Floor




                                         Yahoo! only to refer to a limitation of a specific embodiment, the QuestObjects system. … [⁋⁋]
    San Francisco, CA 94111




                                    17
                                         MasterObjects does not argue that their invention is distinguishable because the server can initiate
         Hosie Rice LLP




                                    18
                                    19   a communication with the client. Rather, MasterObjects makes clear that an asynchronous

                                    20   connection can have a server initiate communications.” (Emphasis in original.) Judge White
                                    21
                                         construed “asynchronous connection” to mean “[a] connection the allows one side of the
                                    22
                                         communication to communicate at the same time the other side is also communicating within a
                                    23
                                         session.”
                                    24
                                    25          94.     In Google I, Google argued that “asynchronous connection” means “a connection

                                    26   that allows both the client and the server to initiate communications at any moment in time within
                                    27
                                         a session.”   While Judge Hamilton adopted Google’s construction, she denied Google the
                                    28
                                          SECOND AMENDED COMPLAINT                  - 30 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 32 of 48




                                     1   limitation it sought to read in through its construction, remarking that “the claimed invention
                                     2   covers both client-initiated and server-initiated communications.”
                                     3
                                                95.     During the eBay IPR, the parties to the IPR disputed the meaning of
                                     4
                                         “asynchronous[ly],” but neither party argued that the server is required to initiate the
                                     5
                                     6   communication. In the eBay IPR Institution Decision, the PTAB remarked that “‘asynchronous’

                                     7   refers to the capability of initiating communications at any moment in time” and stated that “we
                                     8   determine that the term ‘asynchronous’ encompasses communications that are initiated ‘at any
                                     9
                                         moment in time.’” Although the PTAB used the word “initiating” in this description, it did not
                                    10
                                         hold that the server is required to be able to initiate the communication. Rather, the PTAB placed
                                    11
                                    12   no requirements on who initiates the communication, and specifically included an example in

                                    13   which the client initiates the communication (“a server receives queries”) and the server responds.

                                    14          96.     In short, the Facebook claims construction ruling, the eBay I, Yahoo I, and Google
                                    15
                                         I claim construction orders, and the eBay IPR Institution Decision are all inconsistent with
                                    16
600 Montgomery Street, 34th Floor




                                         Amazon’s position that requires server-initiated communication.
    San Francisco, CA 94111




                                    17
                                                97.     Given the litany of decisions that contradict Amazon’s query message and
         Hosie Rice LLP




                                    18
                                    19   asynchronous non-infringement positions, Amazon’s positions are untenable (for at least this

                                    20   reason), and this untenability evidences Amazon’s subjective belief that it in fact infringes the
                                    21
                                         asserted claims.
                                    22
                                                             C. Pre- and Post-Suit Knowledge of Validity:
                                    23
                                    24          98.     Not only did Amazon know (or should have known) that the Accused
                                    25
                                         Instrumentalities infringed the Patents-in-Suit, Amazon knew (or should have known) that the
                                    26
                                         Patents-in-Suit are valid.
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                  - 31 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 33 of 48




                                     1          99.     Amazon’s belief that the Patents-in-Suit are novel, non-obvious, and otherwise
                                     2   patentable is evidenced by Amazon’s prosecution of its own instant search patents. For example,
                                     3
                                         in this litigation Amazon contends that the asserted claims are non-novel and obvious, because
                                     4
                                         “asynchronous communication predates the Patents-in-Suit” and the “prior art identified in the
                                     5
                                     6   Invalidity Contentions shows that these concepts are not new.” Yet, Amazon extolled the novelty

                                     7   of asynchronous applications for instant search in its Brinck II and III applications, which post-
                                     8   date MasterObjects’ 2001 application by over eight years. For example, in its Brinck II and III
                                     9
                                         applications, Amazon says that the “embodiments of [its] disclosure allow a user to interact with
                                    10
                                         a search result associated with a suggested search term without having to cause a search term user
                                    11
                                    12   interface element to execute a search and display a second content page containing one or more

                                    13   search results.” Amazon goes onto explain that:

                                    14          Upon selection of a different suggested search term by a user, the search application
                                                111 can asynchronously update the content page 114 or search term user interface
                                    15
                                                200 to reflect the selection. In the depicted example, the search application 111
                                    16          asynchronously updates the search term user interface 200 by retrieving data from
600 Montgomery Street, 34th Floor




                                                the electronic repository 105 (FIG. 1) that is associated with the new selection 501.
    San Francisco, CA 94111




                                    17          In this way, the search application 111 can allow a user to receive suggested search
                                                terms as well as view data associated with an item or search result corresponding
         Hosie Rice LLP




                                    18
                                                to the suggested search term (e.g., representative imagery, item details, etc.),
                                    19          without having to cause the search term user interface element 201 to submit a form
                                                to the search application 111 and render a new search results page that contains a
                                    20          list of search results.
                                    21
                                                100.    Amazon made similar statements during the prosecution of Brinck III. Amazon,
                                    22
                                         for example, in responding to a 35 U.S.C. § 101 rejection, identified “generating an interface that
                                    23
                                         allows a user to have quick access to searchable information without requiring the user to submit
                                    24
                                    25   a search term in a search interface” as an “inventive concept.” Amazon “submit[ed] … that the

                                    26   claims of the [Brinck III] application solve a technology problem of generating an interface that
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                  - 32 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 34 of 48




                                     1   allows a user to have a quick access to searchable information without requiring the user to submit
                                     2   a search term in a search interface.”
                                     3
                                                101.    Amazon’s view with respect to the patentability of its own patent applications is
                                     4
                                         squarely at odds with its reliance on a reference known as Clinick in this case. Clinick describes
                                     5
                                     6   the completion of an online form, where a user completely fills in one field (e.g., an airport

                                     7   departure filed) and can then move on to fill in the next field (e.g., an airport arrival field). Amazon
                                     8   argues that Clinick anticipates MasterObjects’ claims, or in the alternative, renders them obvious.
                                     9
                                                102.    During the prosecution of Amazon’s Brinck II patent, the PTAB found that
                                    10
                                         MasterObjects’ disclosure “teaches that the user interface does not make use of a submit (or
                                    11
                                    12   similar) button, and instead asynchronously responds to the user’s input,” and that combing “this

                                    13   teaching with [another reference’s] teaching of enlarging an image to be nothing more that

                                    14   combining known elements …”. Amazon later amended its Brinck II claims and argued that its
                                    15
                                         claims were patentable, because MasterObjects’ disclosure does not describe:
                                    16
600 Montgomery Street, 34th Floor




                                                [T]he content page is asynchronously updated with a search term user interface
    San Francisco, CA 94111




                                    17          element with a dropdown box displayed proximate to the search result user
                                                interface element with a list of the suggested search terms. Each of the suggested
         Hosie Rice LLP




                                    18
                                                search terms is associated with at least two of the plurality of search results and the
                                    19          at least two of the plurality of search results are displayed horizontally offset from
                                                a respective one of the suggested search terms, and wherein each of the plurality of
                                    20          search results is displayed using the representative image associated with the search
                                                result.
                                    21
                                    22   The P.T.O. then allowed Brinck II’s claims, stating that the MasterObjects’ disclosure:

                                    23          [D]oes not explicitly disclose at least two of the plurality of search results are
                                                displayed horizontally offset from a representative one of the suggested search
                                    24
                                                term, and each of the plurality of search results is displayed using the representative
                                    25          image.

                                    26   In short, Amazon told the P.T.O. that its claims were non-obvious owing to the way it displays its
                                    27
                                         asynchronously delivered results. Yet, Amazon now contends that a reference that discloses
                                    28
                                          SECOND AMENDED COMPLAINT                    - 33 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 35 of 48




                                     1   sending a complete entry once a user finishes typing into a field, teaches asynchronously sending
                                     2   results as a user types in a partial query. Amazon does not believe its made for litigation position.
                                     3
                                         As evidenced by Amazon’s own instant search patent prosecution statements, Amazon
                                     4
                                         understands MasterObjects’ claims to be patentable over Clinick.
                                     5
                                     6          103.    Amazon’s knowledge that the Patents-in-Suit are valid is further evidenced by a

                                     7   comparison of the ’024 and ’628 Patent’s prosecution histories with Amazon’s invalidity
                                     8   contentions.   (Amazon served its original invalidity contentions on September 4, 2020, a
                                     9
                                         supplement on October 21, 2020, and a second supplement on May 24, 2021.) Amazon’s
                                    10
                                         invalidity contentions assert that Kravets and Trower (U.S. Patent No. 6,922,810) are anticipatory.
                                    11
                                    12   Amazon conceded in briefing filed in this action that Kravets is paramount to its invalidity defense.

                                    13   See ECF 79 at 18 (“[A]rguably the most important prior art reference, Kravets ….”) & 21

                                    14   (“Kravets, a key piece of prior art …”). The Patents-in-Suit’s prosecution history shows Amazon’s
                                    15
                                         reliance on these references, include its “important” and “key” Kravets reference, to be untenable
                                    16
600 Montgomery Street, 34th Floor




                                         and in bad faith.
    San Francisco, CA 94111




                                    17
                                                104.    With respect to Kravets, as explained above, every independent ’024 Patent claim
         Hosie Rice LLP




                                    18
                                    19   was involved in an IPR where the petitioner asserted that Kravets was anticipatory. See ⁋ 16 above.

                                    20   As further explained above, the PTAB rejected the petitioner’s assertion in a Final Written
                                    21
                                         Decision. See ⁋ 16 above; see also Ex. B. The P.T.O. then issued an inter partes review certificate,
                                    22
                                         certifying that: “as a result of the inter partes review proceeding, it has been determined that:
                                    23
                                         Claims 1-3, 6-7, 9, 12, 15-17, 21, 24-26 and 32-37 are found patentable.” See Ex. A; see also ⁋
                                    24
                                    25   17 above. The Final Written Decision is dated July 25, 2018, and the inter partes review certificate

                                    26   June 11, 2019. Both are publicly available documents, and both were attached to MasterObjects’
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                  - 34 -               CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 36 of 48




                                     1   Original and First Amended Complaints. Yet, Amazon’s infringement continued and continues
                                     2   unabated, and Amazon maintains its litigation position that Kravets is anticipatory.
                                     3
                                                   105.   With respect to Trower, a P.T.O. examiner, during the ’628 Patent’s ex partes
                                     4
                                         prosecution, rejected every then pending claim of the ’628 Patent’s application as anticipated by
                                     5
                                     6   Trower. MasterObjects then traversed this rejection, and the ’628 Patent went on to issue. The

                                     7   P.T.O. specifically evaluated Trower and determined it was not anticipatory. The relevant office
                                     8   action and reply are publicly available, and MasterObjects produced these documents in this action
                                     9
                                         on July 22, 2020. Yet, Amazon’s infringement continued and continues unabated, and Amazon
                                    10
                                         maintains its litigation position that Trower is anticipatory.
                                    11
                                    12             106.   As explained above, all asserted claims, including all asserted ’073 Patent claims,

                                    13   are entitled to the benefit of the ’529 Patent’s August 20, 2001 filing date. Amazon’s knowledge

                                    14   that the Patents-in-Suit are valid is further evidenced by its bad faith and untenable allegation that
                                    15
                                         each Patent-in-Suit’s priority date is its filing date. For example, Amazon contends that the
                                    16
600 Montgomery Street, 34th Floor




                                         following ’073 Patent claim language is unsupported by MasterObjects’ 2001 application: “a cache
    San Francisco, CA 94111




                                    17
                                         of query strings and search results based on content queries received from multiple users.”
         Hosie Rice LLP




                                    18
                                    19   Amazon goes on to contend that MasterObjects’ own 2001 application is prior art to the ’073

                                    20   Patent.
                                    21
                                                   107.   But, in its January 11, 2021 Unified IPR Decision, the PTAB addressed and rejected
                                    22
                                         the contention “that ‘[t]he claims of the ’073 Patent are not entitled to the…priority date of the
                                    23
                                         2001 [’493] application’ because it ‘does not provide support for ‘a cache of query strings and
                                    24
                                    25   search results based on content queries received from multiple users,’ as recited by claim 1 of the

                                    26   ’073 Patent, on which all other claims depend.” See Ex. G at 10; see also id. at 11 (“We find
                                    27
                                         Patent Owner’s evidence shows sufficiently that the claim limitation ‘a cache of query strings and
                                    28
                                          SECOND AMENDED COMPLAINT                   - 35 -               CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 37 of 48




                                     1   search results based on content queries received from multiple users’ is supported by the ’493
                                     2   Application”).
                                     3
                                                 108.      Amazon is aware of the Unified IPR Decision. First, it was an exhibit to the First
                                     4
                                         Amended Compliant in this case. Second, as evidenced by Amazon remarks at the March 25,
                                     5
                                     6   2021 Case Management Conference in this case, Amazon was aware of the Unified IPR Decision

                                     7   prior to Amazon receiving the First Amended Complaint: “And the IPR on the ’073 was largely
                                     8   based on an argument that the ’073 patent was not entitled to the priority date it claimed;” “And
                                     9
                                         they [(the PTAB)] tend to deny third IPRs on patent families, because they think they’ve already
                                    10
                                         delt with this issue.” Amazon knows that the ’073 Patent is entitled to the benefit of the ’529
                                    11
                                    12   Patent’s application’s filing date and that MasterObjects’ own ’529 Patent’s application is not

                                    13   invalidating. Amazon’s arguments to the contrary, including those asserted in its May 24, 2021

                                    14   second supplemental invalidity contentions, evidence Amazon’s egregious conduct in this case.
                                    15
                                                               D. Other Egregious Conduct.
                                    16
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17           109.      Amazon’s conduct is egregious, and its egregious behavior permeates its defense
         Hosie Rice LLP




                                    18   of this action.
                                    19
                                                 110.      One example is Amazon’s anticipatory reference assertions. Amazon’s invalidity
                                    20
                                         contentions chart 13 references for the ’024 Patent, 14 for the ’628 Patent, 17 for the ’073 Patent,
                                    21
                                    22   and 12 for the ’866 Patent. Amazon contends that each charted reference anticipates the respective

                                    23   Patent-in-Suit.

                                    24           111.      The Patents-in-Suit are asserted in the Facebook matter, which was filed on
                                    25
                                         February 5, 2020, and remains pending. Facebook, like Amazon, cited MasterObjects’ patent
                                    26
                                         applications, including, post-issuance, the ’024 Patent’s application, to the P.T.O. during its
                                    27
                                         prosecution of its Internet search related patents. Facebook, like Amazon, also had an Internet
                                    28
                                          SECOND AMENDED COMPLAINT                    - 36 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 38 of 48




                                     1   search related patent rejected as anticipated by a MasterObjects’ application. And, Facebook, like
                                     2   Amazon, has served invalidity contentions on MasterObjects.              Unlike Amazon, however,
                                     3
                                         Facebook contends that only two references: Kravets and Trower, are anticipatory.
                                     4
                                                112.    Amazon is aware of Facebook’s invalidity contentions.
                                     5
                                     6                                                                                                  . And,

                                     7   Amazon’s invalidity contentions discuss Facebook’s invalidity contentions.              For example,
                                     8   Amazon’s invalidity contentions state that: “Facebook’s Invalidity Contentions, submitted
                                     9
                                         recently in a matter asserting the same four Patents-in-Suit, include a useful discussion of this topic
                                    10
                                         [specific motivation to combine]. Amazon largely reproduces that discussion below …”.
                                    11
                                    12          113.    Amazon’s assertion of large numbers of references as anticipatory is evidence of

                                    13   its bad faith litigation tactics. Amazon does not harbor a good faith belief that the many references

                                    14   it charted are in fact anticipatory, as evidenced by Facebook’s—
                                    15
                                                                                     and whose invalidity contentions it praised—restraint.
                                    16
600 Montgomery Street, 34th Floor




                                         Amazon’s invalidity defense is pure gamesmanship; a tactic designed to waste MasterObjects’
    San Francisco, CA 94111




                                    17
                                         resources, not a good faith defense.
         Hosie Rice LLP




                                    18
                                    19          114.    Amazon’s bad faith inequitable conduct defenses, defenses it originally copied

                                    20   from the defendant in the Facebook matter, provide another example of Amazon’s egregious
                                    21
                                         conduct. Amazon has pursued these defenses in a manner meant to generate unnecessary work for
                                    22
                                         MasterObjects. For example, Amazon alleges inequitable conduct during prosecution of the ’073
                                    23
                                         Patent based on the alleged non-disclosure of references cited in certain invalidity contentions.
                                    24
                                    25   Amazon does not, and refuses to, identify which specific references out of a set of fifty-three are

                                    26   its alleged material and non-cumulative references that it predicates its allegations on. Amazon’s
                                    27
                                         black-box tactics as to this defense show its lack of belief in this defense’s tenability.
                                    28
                                          SECOND AMENDED COMPLAINT                   - 37 -               CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 39 of 48




                                     1          115.    Another example of Amazon’s bad faith tactics comes in the form of its assertion
                                     2   that the Patents-in-Suit are unenforceable for lack of common ownership. Amazon contends,
                                     3
                                         including in its May 24, 2021 second supplemental invalidity contentions, that “all claims of each
                                     4
                                         of the Patents-in-Suit are unenforceable because MasterObjects does not own prior patents to
                                     5
                                     6   which terminal disclaimers of the Patents-in-Suit are directed.” Amazon argues that:

                                     7          Each of the asserted patents nominally lists the plaintiff, “MasterObjects, Inc.” as
                                                the assignee, but no formal assignment of the asserted patents to MasterObjects,
                                     8          Inc. was ever recorded with the USPTO. Rather, the only patent in the family
                                     9          with any formally recorded assignment is U.S. Patent No. 8,112,529. That
                                                assignment was recorded on January 16, 2002 and names “MasterObjects,” a
                                    10          Netherlands entity, as the assignee.

                                    11          116.    But, MasterObjects, pre-suit, owned the Patents-in-Suit and the patents and/or
                                    12
                                         patent applications to which any Patent-in-Suit is terminally disclaimed, and continues to own the
                                    13
                                         Patents-in-Suit and the patents and/or patent applications to which any Patent-in-Suit is terminally
                                    14
                                         disclaimed. And, on December 22, 2020, MasterObjects served Amazon with an interrogatory
                                    15
                                    16   response detailing, over approximately six pages, MasterObjects’ ownership of the Patents-in-Suit,
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17   the other patents in the MasterObjects family, and the ’984 Application. MasterObjects’ response
         Hosie Rice LLP




                                    18
                                         cited, by Bates number, other assignments recorded with the P.T.O. years before this suit was filed,
                                    19
                                         assignments that are publicly available through the P.T.O.’s website. Amazon does not maintain
                                    20
                                         its lack of common ownership unenforceability contention in good faith. Indeed, Facebook did
                                    21
                                    22   not pursue this defense at all.

                                    23          117.    Another example of Amazon’s bad faith litigation conduct is its boilerplate 35
                                    24
                                         U.S.C. § 101 invalidity contention. Amazon is over a year and three invalidity contentions into
                                    25
                                         this case, yet, as of Amazon’s May 24, 2021 second supplemental invalidity contentions, its
                                    26
                                         Section 101 contentions comprise a single, nine-line paragraph, which it closes with the statement
                                    27
                                    28   that: “[t]o the extent that MasterObjects argues the claims are patent eligible, Amazon reserves the
                                          SECOND AMENDED COMPLAINT                   - 38 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 40 of 48




                                     1   right to disclose new, amended, or supplemental invalidity contentions.” MasterObjects obviously
                                     2   contends that its claims are patent eligible and otherwise valid and enforceable, as is evident from
                                     3
                                         its Original and First Amended Complaint (and now this Complaint). Amazon does not believe
                                     4
                                         the asserted claims are patent ineligible; its continued assertions to the contrary are nothing more
                                     5
                                     6   than more gamesmanship.

                                     7            118.   Another example of Amazon’s egregious conduct comes in the form of its
                                     8   discovery evasions with respect to its prosecution histories that discuss MasterObjects patents and
                                     9
                                         applications.
                                    10
                                                  119.   On June 25, 2020, MasterObjects requested that Amazon produce: (1) “[a]ll
                                    11
                                    12   DOCUMENTs referring or relating to MASTEROBJECTS, including, without limitation, all

                                    13   DOCUMENTs CONCERNING … MASTEROBJECTS … patents or other intellectual property

                                    14   …”; and (2) “[a]ll DOCUMENTs CONCERNING the MASTEROBJECTS PATENTS-IN-SUIT,
                                    15
                                         including, without limitation, all DOCUMENTs CONCERNING … Your knowledge of the
                                    16
600 Montgomery Street, 34th Floor




                                         MASTEROBJECTS PATENTS-IN-SUIT …”. Amazon responded as to both requests on July 27,
    San Francisco, CA 94111




                                    17
                                         2020. As to the first request, Amazon stated that it “will produce … documents concerning
         Hosie Rice LLP




                                    18
                                    19   MasterObjects’s technology, intellectual property and product offerings …”. As to the second

                                    20   request, Amazon stated that it “will produce … documents concerning the PATENTS-IN-SUIT
                                    21
                                         …”. Yet, Amazon did not produce to MasterObjects the Amazon patents discussed in Section V.A
                                    22
                                         above.
                                    23
                                                  120.   On June 25, 2020, MasterObjects served its First Set of Interrogatories to Amazon.
                                    24
                                    25   The very first request asked Amazon to “IDENTIFY all COMMUNICATIONS and

                                    26   DOCUMENTS in AMAZON’s possession or control CONCERNING MASTEROBJECTS,
                                    27
                                         MASTEROBJECTS’ patents, its technology, or its products.” Amazon responded to this request
                                    28
                                          SECOND AMENDED COMPLAINT                  - 39 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 41 of 48




                                     1   on July 27, 2020. Amazon’s response did not identify the prosecution histories described in
                                     2   Section V.A above. Instead, Amazon responded that “it has in its possession, custody, or control
                                     3
                                         documents and communications relating to and arising out of MasterObjects’s prior litigation
                                     4
                                         against Amazon, MasterObjects, Inc. v. Amazon.com, Inc., Case No. 3:11-cv-01055 (N.D. Cal.)
                                     5
                                     6   …. Amazon is not currently aware of any other documents or communications in its possession,

                                     7   custody, or control that concern MasterObjects or its patents, technology, or products.”
                                     8          121.    On September 23, 2020, MasterObjects served its Second Set of Interrogatories to
                                     9
                                         Amazon, in which MasterObjects requested that Amazon “IDENTIFY and describe with
                                    10
                                         specificity the actions taken by [it] in response to [its] acquiring knowledge of the
                                    11
                                    12   MASTEROBJECTS PATENTS-IN-SUIT …”. Amazon responded to this request on December

                                    13   7, 2020. Amazon’s response, like its response before, failed to identify the prosecution histories

                                    14   described in Section V.A above. Instead, Amazon responded that “Amazon became aware of
                                    15
                                         MasterObjects’ patents-in-suit upon the filing of the above-captioned matter. Amazon has not
                                    16
600 Montgomery Street, 34th Floor




                                         changed or altered its source code in response to this lawsuit because that source code does not
    San Francisco, CA 94111




                                    17
                                         infringe MasterObjects’ patents-in-suit.”
         Hosie Rice LLP




                                    18
                                    19          122.    Based on Amazon’s discovery responses, it would seem that Amazon wanted to

                                    20   conceal its pre-suit knowledge of the Patents-in-Suit. Amazon’s discovery failures—failures
                                    21
                                         specific to MasterObjects’ willful infringement allegations—further evidence Amazon’s bad faith
                                    22
                                         conduct and subjective belief that it infringes valid patent claims asserted in this action. Amazon’s
                                    23
                                         infringement is egregious.
                                    24
                                    25            VI.    CLAIMS.
                                    26
                                                             A. Infringement of United States Patent No. 8,539,024.
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                   - 40 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 42 of 48




                                     1           123.     MasterObjects repeats, realleges, and incorporates by reference, as if fully set forth
                                     2   herein, the allegations of paragraphs 1 to 122 above.
                                     3
                                                 124.     Amazon infringes claims of the ’024 Patent. Amazon, without authority, makes,
                                     4
                                         uses, imports, offers to sell, and/or sells instrumentalities that practice inventions covered by
                                     5
                                     6   claims of the ’024 Patent. Amazon Predictive Search and/or Amazon Applications meet all of the

                                     7   elements of claims of the ’024 Patent, including, all the elements of ’024 Patent claims 1, 3, 5, 7,
                                     8   8, 9, 10, 11, 17, 18, 19, 21, 23, 27, 28, 29, 32, 35, 36, and 37. See Ex. K. Amazon controls and
                                     9
                                         benefits from each Amazon Predictive Search and/or Amazon Applications element that meets
                                    10
                                         each limitation of at least ’024 Patent claims 1, 3, 5, 7, 8, 9, 10, 11, 17, 18, 19, 21, 23, 27, 28, 29, 32,
                                    11
                                    12   35, 36, and 37. Amazon has been, is currently, and continues to, directly infringe at least claims 1,

                                    13   3, 5, 7, 8, 9, 10, 11, 17, 18, 19, 21, 23, 27, 28, 29, 32, 35, 36, and 37 of the ’024 Patent in violation of

                                    14   35 U.S.C. § 271(a), literally or under the doctrine of equivalents, through Amazon Predictive
                                    15
                                         Search and/or Amazon Applications, that practice the inventions disclosed in the ’024 Patent.
                                    16
600 Montgomery Street, 34th Floor




                                                 125.    Amazon’s infringement of the ’024 Patent has been and continues to be willful and
    San Francisco, CA 94111




                                    17
                                         deliberate. Amazon’s conduct with respect to its infringement and this suit has been egregious.
         Hosie Rice LLP




                                    18
                                    19   See § V above.

                                    20           126.    As a result of Amazon’s infringement, MasterObjects has been damaged, and will
                                    21
                                         continue to be damaged, until Amazon is enjoined from further acts of infringement.
                                    22
                                                 127.    Amazon will continue to infringe unless enjoined by this Court. MasterObjects
                                    23
                                         faces real, substantial and irreparable damage and injury of a continuing nature from infringement
                                    24
                                    25   for which MasterObjects has no adequate remedy at law.

                                    26
                                                               B. Infringement of United States Patent No. 9,760,628.
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                     - 41 -                CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 43 of 48




                                     1           128.     MasterObjects repeats, realleges, and incorporates by reference, as if fully set forth
                                     2   herein, the allegations of paragraphs 1 to 122 above.
                                     3
                                                 129.     Amazon infringes claims of the ’628 Patent. Amazon, without authority, makes,
                                     4
                                         uses, imports, offers to sell, and/or sells instrumentalities that practice inventions covered by
                                     5
                                     6   claims of the ’628 Patent. Amazon Predictive Search and/or Amazon Applications meet all of the

                                     7   elements of claims of the ’628 Patent, including, all the elements of the ’628 Patent claim 1, 4, 6,
                                     8   13, 14, 15, 19, 21, 22, 24, 25, and 26. See Ex. K. Amazon controls and benefits from each Amazon
                                     9
                                         Predictive Search and/or Amazon Applications element that meets each limitation of at least ’628
                                    10
                                         Patent claim 1, 4, 6, 13, 14, 15, 19, 21, 22, 24, 25, and 26. Amazon has been, is currently, and
                                    11
                                    12   continues to, directly infringe at least claims 1, 4, 6, 13, 14, 15, 19, 21, 22, 24, 25, and 26 of the ’628

                                    13   Patent in violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents, through

                                    14   Amazon Predictive Search and/or Amazon Applications, that practice the inventions disclosed in
                                    15
                                         the ’628 Patent.
                                    16
600 Montgomery Street, 34th Floor




                                                 130.    Amazon’s infringement of the ’628 Patent has been and continues to be willful and
    San Francisco, CA 94111




                                    17
                                         deliberate. Amazon’s conduct with respect to its infringement and this suit has been egregious.
         Hosie Rice LLP




                                    18
                                    19   See § V above.

                                    20           131.    As a result of Amazon’ infringement, MasterObjects has been damaged, and will
                                    21
                                         continue to be damaged, until Amazon is enjoined from further acts of infringement.
                                    22
                                                 132.    Amazon will continue to infringe unless enjoined by this Court. MasterObjects
                                    23
                                         faces real, substantial and irreparable damage and injury of a continuing nature from infringement
                                    24
                                    25   for which MasterObjects has no adequate remedy at law.

                                    26
                                                               C. Infringement of United States Patent No. 10,311,073.
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                     - 42 -               CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 44 of 48




                                     1          133.    MasterObjects repeats, realleges, and incorporates by reference, as if fully set forth
                                     2   herein, the allegations of paragraphs 1 to 122 above.
                                     3
                                                134.    Amazon infringes claims of the ’073 Patent. Amazon, without authority, makes,
                                     4
                                         uses, imports, offers to sell, and/or sells instrumentalities that practice inventions covered by
                                     5
                                     6   claims of the ’073 Patent. Amazon Predictive Search and/or Amazon Applications meet all of the

                                     7   elements of claims of the ’073 Patent, including, all the elements of the ’073 Patent claims 1, 3, 4,
                                     8   7, 8, and 9. See Ex. K. Amazon performs each Amazon Predictive Search and/or Amazon
                                     9
                                         Applications step that meets each limitation of at least ’073 Patent claims 1, 3, 4, 7, 8, and 9.
                                    10
                                         Amazon has been, is currently, and continues to, directly infringe at least claims 1, 3, 4, 7, 8, and 9
                                    11
                                    12   of the ’073 Patent in violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents,

                                    13   through Amazon Predictive Search and/or Amazon Applications, that practice the inventions

                                    14   disclosed in the ’073 Patent.
                                    15
                                                135.    Amazon’s infringement of the ’073 Patent has been and continues to be willful and
                                    16
600 Montgomery Street, 34th Floor




                                         deliberate. Amazon’s conduct with respect to its infringement and this suit has been egregious.
    San Francisco, CA 94111




                                    17
                                         See § V above.
         Hosie Rice LLP




                                    18
                                    19          136.    As a result of Amazon’s infringement, MasterObjects has been damaged, and will

                                    20   continue to be damaged, until Amazon is enjoined from further acts of infringement.
                                    21
                                                137.    Amazon will continue to infringe unless enjoined by this Court. MasterObjects
                                    22
                                         faces real, substantial and irreparable damage and injury of a continuing nature from infringement
                                    23
                                         for which MasterObjects has no adequate remedy at law.
                                    24
                                    25                        D. Infringement of United States Patent No. 10,394,866.

                                    26          138.    MasterObjects repeats, realleges, and incorporates by reference, as if fully set forth

                                    27   herein, the allegations of paragraphs 1 to 122 above.
                                    28
                                          SECOND AMENDED COMPLAINT                   - 43 -               CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 45 of 48




                                     1          139.       Amazon infringes claims of the ’866 Patent. Amazon, without authority, makes,
                                     2   uses, imports, offers to sell, and/or sells instrumentalities that practice inventions covered by
                                     3
                                         claims of the ’866 Patent. Amazon Predictive Search and/or Amazon Applications meet all of the
                                     4
                                         elements of claims of the ’866 Patent, including, all the elements of the ’866 Patent claims 1, 4, 5,
                                     5
                                     6   6, 7 and 8. See Ex. K. Amazon performs each Amazon Predictive Search and/or Amazon

                                     7   Applications step that meets each limitation of at least ’866 Patent claims 1, 4, 5, 6, 7 and 8.
                                     8   Amazon has been, is currently, and continues to, directly infringe at least claims 1, 4, 5, 6, 7 and 8
                                     9
                                         of the ’866 Patent in violation of 35 U.S.C. § 271(a), literally or under the doctrine of equivalents,
                                    10
                                         through Amazon Predictive Search and/or Amazon Applications, that practice the inventions
                                    11
                                    12   disclosed in the ’866 Patent.

                                    13          140.       Amazon’s infringement of the ’866 Patent has been and continues to be willful and

                                    14   deliberate. Amazon’s conduct with respect to its infringement and this suit has been egregious.
                                    15
                                         See § V above.
                                    16
600 Montgomery Street, 34th Floor




                                                141.       As a result of Amazon’s infringement, MasterObjects has been damaged, and will
    San Francisco, CA 94111




                                    17
                                         continue to be damaged, until Amazon is enjoined from further acts of infringement.
         Hosie Rice LLP




                                    18
                                    19          142.       Amazon will continue to infringe unless enjoined by this Court. MasterObjects

                                    20   faces real, substantial and irreparable damage and injury of a continuing nature from infringement
                                    21
                                         for which MasterObjects has no adequate remedy at law.
                                    22
                                                 VII.       PRAYER FOR RELIEF.
                                    23
                                    24          WHEREFORE, MasterObjects prays for entry of judgment as follows:
                                    25
                                                143.       Judgment in MasterObjects’s favor and against Amazon on all causes of action
                                    26
                                    27   alleged herein;

                                    28          144. That the Patents-in-Suit are valid and enforceable;
                                          SECOND AMENDED COMPLAINT               - 44 -             CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 46 of 48




                                     1            145.     That Amazon has infringed one or more claims of each of the Patents-in-Suit;
                                     2            146.     That Amazon’s infringement of the Patents-in-Suit was willful;
                                     3
                                                  147.     That Amazon account for and pay to MasterObjects all damages caused by the
                                     4
                                         infringement of the Patents-in-Suit, which by statute can be no less than a reasonable royalty with
                                     5
                                     6   respect to each Patent-in-Suit;

                                     7            148.     That the damages to MasterObjects with respect to each Patent-in-Suit be increased
                                     8   by three times the amount found or assessed pursuant to 35 U.S.C. § 284 and that Amazon account
                                     9
                                         for and pay to MasterObjects the increased amounts;
                                    10
                                                  149.     That this be adjudicated an exceptional case and MasterObjects be awarded its
                                    11
                                    12   attorneys’ fees in this action pursuant to 35 U.S.C. § 285;

                                    13            150.     That this Court issue preliminary and final injunctions enjoining Amazon, its

                                    14   officers, agents, servants, employees and attorneys, and any other person in active concert or
                                    15
                                         participation with them, from continuing the acts herein complained of with respect to
                                    16
600 Montgomery Street, 34th Floor




                                         infringement of the Patents-in-Suit, and more particularly, that Amazon and such other persons be
    San Francisco, CA 94111




                                    17
                                         permanently enjoined and restrained form further infringing the Patents-in-Suit;
         Hosie Rice LLP




                                    18
                                    19            151.     That MasterObjects be granted pre-judgment and post-judgment interest on the

                                    20   damages caused to it by reason of Amazon’s conduct at the maximum legal rates provided by
                                    21
                                         statute or law;
                                    22
                                                  152.     That this Court award MasterObjects its costs and disbursements in this civil action,
                                    23
                                         including reasonable attorneys’ fees; and
                                    24
                                    25            153.     That MasterObjects be granted such other and further relief as the Court may deem

                                    26   just and proper under the circumstances.
                                    27
                                         Dated:     June 18, 2021                        /s/ Spencer Hosie
                                    28
                                          SECOND AMENDED COMPLAINT                     - 45 -              CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 47 of 48




                                     1                                     SPENCER HOSIE (CA Bar No. 101777)
                                                                           shosie@hosielaw.com
                                     2                                     DIANE S. RICE (CA Bar No. 118303)
                                     3                                     drice@hosielaw.com
                                                                           DARRELL R. ATKINSON (CA Bar No.
                                     4                                     280564)
                                                                           datkinson@hosielaw.com
                                     5                                     HOSIE RICE LLP
                                                                           600 Montgomery Street, 34th Floor
                                     6
                                                                           San Francisco, CA 94111
                                     7                                     (415) 247-6000 Tel.
                                                                           (415) 247-6001 Fax
                                     8
                                                                           LESLIE V. PAYNE (admitted pro hac vice)
                                     9                                     lpayne@hpcllp.com
                                    10                                     ALDEN G. HARRIS (admitted pro hac vice)
                                                                           aharris@hpcllp.com
                                    11                                     HEIM, PAYNE & CHORUSH, LLP
                                                                           1111 Bagby St., Ste. 2100
                                    12                                     Houston, Texas 77002
                                                                           (713) 221-2000 Tel.
                                    13                                     (713) 221-2021 Fax
                                    14
                                                                           Attorneys for Plaintiff
                                    15                                     MASTEROBJECTS, INC.
                                    16
600 Montgomery Street, 34th Floor
    San Francisco, CA 94111




                                    17
         Hosie Rice LLP




                                    18
                                    19
                                    20
                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28
                                         SECOND AMENDED COMPLAINT        - 46 -           CASE NO. 5:20-CV-08103-WHA (KAW)
                                         Case 3:20-cv-08103-WHA Document 136 Filed 06/18/21 Page 48 of 48




                                     1                                     DEMAND FOR JURY TRIAL
                                     2            MasterObjects demands a jury trial on all causes of action, claims, or issues in this action
                                     3
                                         that are triable as a matter of right to a jury.
                                     4
                                     5   Dated:     June 18, 2021                       /s/ Spencer Hosie
                                                                                        SPENCER HOSIE (CA Bar No. 101777)
                                     6
                                                                                        shosie@hosielaw.com
                                     7                                                  DIANE S. RICE (CA Bar No. 118303)
                                                                                        drice@hosielaw.com
                                     8                                                  DARRELL R. ATKINSON (CA Bar No.
                                                                                        280564)
                                     9                                                  datkinson@hosielaw.com
                                    10                                                  HOSIE RICE LLP
                                                                                        600 Montgomery Street, 34th Floor
                                    11                                                  San Francisco, CA 94111
                                                                                        (415) 247-6000 Tel.
                                    12                                                  (415) 247-6001 Fax
                                    13
                                                                                        LESLIE V. PAYNE (admitted pro hac vice)
                                    14                                                  lpayne@hpcllp.com
                                                                                        ALDEN G. HARRIS (admitted pro hac vice)
                                    15                                                  aharris@hpcllp.com
                                    16                                                  HEIM, PAYNE & CHORUSH, LLP
600 Montgomery Street, 34th Floor




                                                                                        1111 Bagby St., Ste. 2100
    San Francisco, CA 94111




                                    17                                                  Houston, Texas 77002
                                                                                        (713) 221-2000 Tel.
         Hosie Rice LLP




                                    18                                                  (713) 221-2021 Fax
                                    19
                                                                                        Attorneys for Plaintiff
                                    20                                                  MASTEROBJECTS, INC.

                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28
                                          SECOND AMENDED COMPLAINT                   - 47 -              CASE NO. 5:20-CV-08103-WHA (KAW)
